EXHIBIT B
                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


LIA DEVITRI, et al.,

                                  Petitioners/Plaintiffs,
v.                                                              Civil Action No.17-cv-11842-PBS

CHRIS M. CRONEN, et al.,

                                  Respondents/Defendants.


                     AFFIDAVIT OF PROFESSOR DANIEL KANSTROOM

           I, Professor Daniel Kanstroom, under oath, depose and say as follows:

     1. I am an adult resident of Massachusetts and make this affidavit based upon my own

           knowledge. I have personal knowledge of the facts in this Affidavit, and would be

           competent to testify thereto.

     2. I am a tenured Professor of Law and Thomas F. Carney Distinguished Scholar at Boston

           College Law School. I am also a Co-Director of the Center for Human Rights and

           International Justice at Boston College. I write in my personal capacity and not on behalf

           of Boston College. I have taught U.S. Immigration Law at Boston College Law School

           and at many other universities and law schools, including American University,

           Northeastern School of Law, the University of Hawai’i, and Vermont Law School, for

           more than twenty-five years. I am the author of many law review articles about U.S.

           Immigration Law as well as two books: Aftermath: Deportation Law and the New

           American Diaspora (Oxford University Press 2012) and Deportation Nation (Harvard

           University Press 2007).

     3. In 2006, I co-founded the Post-Deportation Human Rights Project (PDHRP) at Boston

           College. The essential purposes of PDHRP were to conceptualize post-deportation law as


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           a distinct legal subject and to support the rights of deportees and their family members

           through research, policy analysis, human rights advocacy, and training programs. The

           Project undertakes multi-disciplinary research into the effects of deportation in the U.S.

           and abroad. PDHRP attorneys—sometimes together with pro-bono counsel and law

           students—also advise, counsel, and represent persons who have been deported. Over the

           past twelve years we have fielded many inquiries and represented clients from Guatemala,

           Haiti, El Salvador, Honduras, Ecuador, Chile, The Azores, Nigeria, the Congo,

           Bangladesh, Egypt, Cambodia, and many other countries. We have appeared before

           administrative agencies, immigration courts, U.S. district courts, and U.S. courts of

           appeals. Much of our work—as a matter of research, training, and in actual practice—has

           involved motions to reopen removal proceedings after a person has been removed from

           the United States.

     4. In sum, I have focused for more than a decade of my scholarly and professional legal work

           on the rights and prospects of those who have been deported from the United States.

     5. I make this affidavit in support of Petitioners in this matter because, based on my

           experience and my research, I conclude that the harm that they would experience if

           deported prior to adjudication of their motions to reopen would very likely be irreparable.

     6. Aside from the most obvious possible irreparable harm—the possibility of their facing

           persecution, torture, or death in Indonesia—I am certain that removal from the United

           States prior to full preparation with competent counsel and adjudication of their motions to

           reopen would be exceedingly difficult for these Plaintiffs, both substantively and

           procedurally. First, preparing their motions while also attempting to avoid persecution or

           torture would be exceedingly difficult. Second, even under less dangerous circumstances,

           we have found it extremely difficult in such cases to maintain contact with clients, to



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           communicate effectively, to obtain necessary evidence, to assure the accuracy of facts and

           documents, to advise about the law, etc. Moreover, in some cases, even successful

           adjudication is just the beginning of a long, expensive, complicated and dangerous process

           of return. This may involve obtaining the consent of the government of the country to

           which the person was deported or in which they reside. It also involves strikingly opaque

           and often complex and contradictory bureaucratic processes by (often recalcitrant) US

           immigration agencies as to how a person may be returned even if the case is successfully

           re-opened.

     7. Given these difficulties, I believe that a post-deportation motion to reopen in the

           circumstances faced by the Plaintiffs in this matter would be much less likely to prevail

           than if such a motion were pursued within U.S. territory.

Post-Deportation Motions to Reopen

     8. One of the main reasons that the Post-Deportation Human Rights Project (PDHRP) was

           begun more than a decade ago was because the government interpreted certain

           regulations to completely bar most post-departure motions to reopen. This meant that

           many claims of legal error were impossible to redress. As the Board of Immigration

           Appeals put it, “[r]emoved aliens have, by virtue of their departure, literally passed

           beyond our aid.” Matter of Armendarez-Mendez, 24 I. & N. Dec. 646, 656 (BIA 2008)

           (emphasis added). Deportation, in the view of the BIA, is a “transformative event that

           fundamentally alters the alien's posture under the law.” Id. at 657. As a functional

           matter, this means that due process and equal protection rights evaporated following

           removal from the United States. PDHRP, together with others, has researched and

           litigated many issues relating to such motions. See e.g., Lawrence v. Lynch, 826 F.3d

           198 (4th Cir. 2016); Carias v. Holder, 697 F.3d 257 (2012); Ovalles v. Holder, 577 F.3d



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           288 (5th Cir. 2009); Rosillo-Puga v. Holder, 580 F.3d 1147 (10th Cir. 2009); Nat'l

           Immigration Project of the Nat'l Lawyers Guild v. United States Dep't of Homeland Sec.,

           842 F. Supp. 2d 720 (S.D.N.Y. 2012). Our basic position is that removal should not

           mean the loss of all rights, especially where a person has been deported in error.

     9. Although we do not have complete, accurate statistics on all post-deportation motions to

           reopen, PDHRP endeavors to closely monitor such cases. We field inquiries from

           attorneys and legal clinics around the country and from potential clients around the

           world.

     10. Motions to reopen before the BIA based on changed country conditions are generally

           decided without oral argument. The applicable statute and regulations require that the

           motion to reopen be submitted with evidence showing that circumstances have changed

           since the last immigration hearing. See 8 U.S.C. § 1229a(c)(7)(B) (“The motion shall

           state the new facts that will be proven at a hearing to be held if the motion is granted,

           and shall be supported by the affidavits or other evidentiary material.”) Post-deportation

           motions to reopen based on changed conditions are especially challenging to prepare

           because a client may be: difficult to contact, living in fear, required to travel frequently.

           Indeed, a client may well may feel a justifiable need to conceal identity and intentions

           for the sake of personal safety. The concerns about persecution and torture in many

           places around the world are very real.         See, e.g., Geoffrey A. Hoffman, Nimra

           Chowdhry, & Martha Chace, Immigration Appellate Litigation Post-Deportation: A

           Humanitarian Conundrum, 5 HLRe 143 (2015) (discussing case of a deported pro se

           litigant who won remand from the Fifth Circuit on a torture claim but whose victory is

           meaningless because he cannot be found). This makes it extremely hard for deported




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           clients to work with U.S. legal counsel to review legal filings and gather the documents

           needed to establish entitlement to relief, especially within the deadlines provided in law.

     11. Even if these Plaintiffs were somehow to succeed on post-deportation motions to

           reopen, it is far from clear that the U.S. government would ever actually return them

           because of its (still) unevenly applied and often rather discretionary “Return Policy.”

           See Nancy Morawetz, Convenient Facts: Nken v. Holder, The Solicitor General, and the

           Presentation of Internal Government Facts, 88 N.Y.U.L. Rev. 1600 (2013). To this day,

           even those with successful motions to reopen face numerous challenges in effecting

           return. See e.g., Return To The United States After Prevailing On A Petition For Review

           Or Motion To Reopen Or Reconsider (attached hereto as Exhibit A and also available at

           https://www.nationalimmigrationproject.org/PDFs/practitioners/practice_advisories/fed/

           2015_27Apr_return-advisory.pdf ).

     12. PDHRP assisted in the development of a 2014 report by New York University’s

           Immigrant Rights Clinic, which detailed such hardships as:

                   "    refusal of agencies to issue travel documents;

                   "    noncitizens receiving conflicting information about return from the Department

                        of State and the Department of Homeland Security;

                   "   agency staff imposing limitations on the types of cases eligible for return; and

                   "   bald refusal to effect return

           See Victory Denied: After Winning On Appeal, An Inadequate Return Policy Leaves

           Immigrants Stranded Abroad (attached hereto as Exhibit B and available at:

           http://www.law.nyu.edu/sites/default/files/upload_documents/Victory%20Denied.pdf ).

     13. In circumstances where the government of the client’s home country is actively hostile

           to the deported, especially high-profile cases, the difficulties described in these reports



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R`k_!k_\!gligfik\[!tgfc`Zpu!YXi\cp!`e!gcXZ\*!fe!<gi`c!02*!0./0*!k_\!JNB!j\ek!X!c\kk\i!kf!k_\!
Nlgi\d\!>flik*!XZbefnc\[^`e^!`kj!`eZfii\Zk!i\gi\j\ekXk`fej!`e!5ICL,!!De!k_\!c\kk\i*!k_\!JNB!
li^\[!k_\!>flik!efk!kf!i\m`j`k!k_\!gfik`fe!f]!`kj!fg`e`fe!k_Xk!i\c`\[!fe!k_fj\!i\gi\j\ekXk`fej*!
Xm\ii`e^!k_Xk!tUkV_\!^fm\ied\ek![f\j!efk!Y\c`\m\!k_Xk!Xep!XZk`fe!Yp!k_`j!>flik!`j!i\hl`i\[*u!^`m\e!
`kj!Zc`\ek+X^\eZpsj!i\Z\ek!XeefleZ\d\ekj,7!!!
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  !!!   >fdgcX`ek!Xk!/*!5?RYJ!0KKGEP?RGML!7PMHCAR!MD!RFC!5?RYJ!3?UWCPQ!.SGJB!T&!<&9&!+CNYR&!MD!
/MKCJ?LB!9CA&*!If,!//+>Q+1013!'N,?,I,T,!]`c\[!HXp!/0*!0.//(,!O_\!gcX`ek`]]j!n\i\!k_\!
IXk`feXc!Ddd`^iXk`fe!Kifa\Zk!f]!k_\!IXk`feXc!GXnp\ij!Bl`c[!'IDKIGB(*!k_\!<d\i`ZXe!>`m`c!
G`Y\ik`\j!Pe`fe*!k_\!Ddd`^iXek!?\]\ej\!Kifa\Zk*!k_\!=fjkfe!>fcc\^\!Kfjk+?\gfikXk`fe!CldXe!
M`^_kj!Kifa\Zk*!Xe[!Kif]\jjfi!MXZ_\c!Mfj\eYcffd,!!O_\!I\n!Tfib!Pe`m\ij`kp!NZ_ffc!f]!GXn!
Ddd`^iXek!M`^_kj!>c`e`Z!i\gi\j\ek\[!gcX`ek`]]j,!
5
  !!    9CC!5?RYJ!0KKGEP?RGML!7PMHCAR!MD!RFC!5?RYJ&!3?UWCPQ!.SGJB!T&!<&9&!+CNYR&!MD!/MKCJ?LB!
9CA&*!620!A,!Nlgg,!0[!50.*!500!'N,?,I,T,!0./0(,!!!
6
  !!    Ai\hl\ekcp!<jb\[!Ll\jk`fej!XYflk!D>@!Kfc`Zp!?`i\Zk`m\!IldY\i!//.4/,/*!AXZ`c`kXk`e^!
k_\!M\klie!kf!k_\!Pe`k\[!NkXk\j!f]!>\ikX`e!GXn]lccp!M\dfm\[!<c`\ej!'0./0(!'Ki\m`flj!A<L(,!!
O_`j!Ki\m`flj!A<L!`j!XkkXZ_\[!Xj!<gg\e[`o!?!kf!k_\!G\kk\i!]ifd!H`Z_X\c!M,!?i\\Y\e*!Z`k\[!`e!
]ffkefk\!7!Y\cfn,!!Dk!_Xj!j`eZ\!Y\\e!Xd\e[\[,!!!
7
  !!    G\kk\i!]ifd!H`Z_X\c!M,!?i\\Y\e*!?\glkp!Nfc`Z`kfi!B\e\iXc*!kf!Cfe,!R`cc`Xd!F,!Nlk\i*!
>c\ib!f]!k_\!Nlgi\d\!>flik!'<gi,!02*!0./0(!'tJNB!G\kk\iu(,!N\m\iXc!`dd`^iXk`fe!^iflgj!k_Xk!
_X[!Xgg\Xi\[!Xj!?KGAG!ASPG?C!`e!5ICL!i\jgfe[\[!n`k_!X!c\kk\i!Xjb`e^!k_\!>flik!kf!tn`k_[iXnUV!k_\!
gXikj!f]!`kj!5ICL!fg`e`fe!k_Xk!i\c`\[!fe!i\gi\j\ekXk`fej!k_Xk!k_\!^fm\ied\ek!efn!XZbefnc\[^\j!
n\i\!`eXZZliXk\,u!!G\kk\i!]ifd!KXlc!M,L,!Rfc]jfe!Xe[!<[Xd!MXm`m!kf!Cfe,!R`cc`Xd!F,!Nlk\i*!
>c\ib!f]!k_\!Nlgi\d\!>flik!'HXp!2*!0./0(,!!Jecp!k_\!JNBsj!c\kk\iwefk!k_\!c\kk\i!]ifd!5ICLsj!
?KGAGwnXj!XZbefnc\[^\[!Xj!i\Z\`m\[!Yp!k_\!>flik,!!9CC!5ICL!T&!/MJBCP*!If,!.6+46/,!!


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De!0./1*!>fe^i\jj!mfk\[!kf![\]le[!k_\!gfj`k`fe!f]!D>@!KlYc`Z!<[mfZXk\*/.!n_fd!k_\!Ki\m`flj!
A<L!_X[!`[\ek`]`\[!Xj!k_\!Zffi[`eXkfi!f]!k_\!i\klie!gifZ\jj,//!!D>@!jlYj\hl\ekcp!`jjl\[!k_\!
Zlii\ek!A<L,!!<j![`jZljj\[!`e!dfi\![\kX`c\[!Y\cfn*!k_\!Zlii\ek!^l`[XeZ\!`ejkilZkj!`e[`m`[lXcj!fi!
k_\`i!i\gi\j\ekXk`m\j!kf!X]]`idXk`m\cp!ZfekXZk!k_\!D>@sj!@e]fiZ\d\ek!Xe[!M\dfmXc!Jg\iXk`fej!
'@MJ(!Jlki\XZ_!le`k!k_ifl^_!`kj!?\k\ek`fe!M\gfik`e^!Xe[!De]fidXk`fe!G`e\!'/+666+13/+2.02(!fi!
X!^\e\i`Z!\dX`c!X[[i\jj!'@MJ,DIAJ;`Z\,[_j,^fm(,!!

777&          713_?!>IXYVR!2MVIGXMZI!ERH!7QTPIQIRXEXMSR!1LEPPIRKIW!!

D>@sj!gfc`Zp![`i\Zk`m\!]Xccj!]Xi!j_fik!f]!gifm`[`e^!]X`ie\jj!kf!gi\mX`c`e^!c`k`^Xekj!n_f!_Xm\!
fm\iZfd\!k_\![`]]`Zlck`\j!f]!c`k`^Xk`e^!]ifd!XYifX[,!!Hfjk!j`^e`]`ZXekcp*!`k!Zfm\ij!fecp!X!jlYj\k!f]!
c`k`^Xekj,!!!
!
     ( /TTPMIW!<RP]!XS!=VIZEMPMRK!=4>!8MXMKERXW&!!O_\![`i\Zk`m\!fecp!Zfm\ij!efeZ`k`q\ej!n_f!
          gi\mX`c!fe!K\k`k`fej!]fi!M\m`\n!'KAM(,!!Dk![f\j!efk!Zfm\i!efeZ`k`q\ej!n_f!gi\mX`c!fe!
          X[d`e`jkiXk`m\!dfk`fej!kf!i\fg\e!fi!i\Zfej`[\i!Y\]fi\!Xe!`dd`^iXk`fe!al[^\!'DE(!fi!k_\!
          =D<,!!'NkiXk\^`\j!]fi!i\klie`e^!k_\j\!`e[`m`[lXcj!Xi\![`jZljj\[!Y\cfn(,!
          !
     ( /TTPMIW!<RP]!XS!7RHMZMHYEPW!>IWXSVIH!XS!8=>!?XEXYW!SV!CLSWI!=VIWIRGI!713!2IIQW!
          ;IGIWWEV]&!!O_\![`i\Zk`m\!jkXk\j!k_Xk!D>@!n`cc!]XZ`c`kXk\!i\klie!fecp!n_\i\8!
          !
       `,         ;FC!AMSPR$!@W!T?A?RGLE!MP!PCTCPQGLE!RFC!PCKMT?J!MPBCP$!PCQRMPCQ!RFC!LMLAGRGXCL!RM!
                  378!QR?RSQ&!!KiXZk`k`fe\ij!Zfek`el\!kf!i\gfik!k_Xk*![\jg`k\!k_\!]XZk!k_Xk!k_\!gfc`Zp!`j!
                  Zc\Xi!fe!k_`j!gf`ek*!D>@!e\m\ik_\c\jj!_Xj!i\]lj\[!kf!]XZ`c`kXk\!i\klie!`e!k_`j!
                  j`klXk`fe,!!Nfd\!giXZk`k`fe\ij!_Xm\!_X[!kf!]`c\!X!]\[\iXc!Zflik!cXnjl`k!j\\b`e^!kf!
                  Zfdg\c!i\klie,!!'Ifk\8!De!\m\ip!cXnjl`k!f]!n_`Z_!k_\!Xlk_fij!Xi\!XnXi\*!D>@!_Xj!
                  i\klie\[!k_\!`e[`m`[lXc!gi`fi!kf!jlYjkXek`m\!Yi`\]`e^!Xe[!`e!c`\l!f]!c`k`^Xk`e^!k_\!
                  ZXj\,(!
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      ``,         0*,!BCCKQ$!GL!GRQ!QMJC$!SLDCRRCPCB!BGQAPCRGML$!RF?R!?!LML%378YQ!ZNPCQCLAC!GQ!
                  LCACQQ?PW!DMP!AMLRGLSCB!?BKGLGQRP?RGTC!PCKMT?J!NPMACCBGLEQ&[!!O_\i\!`j!c`kkc\!
                  ^l`[XeZ\!fe!n_\e!D>@!n`cc![\\d!X!g\ijfesj!gi\j\eZ\!e\Z\jjXip,!!O_\!A<L!jkXk\j!
                  fecp!k_Xk!gi\j\eZ\!dXp!Y\!e\Z\jjXip!`]!tk_\!eXkli\!f]!k_\!Zfliksj![\Z`j`fe!i\hl`i\j!
                  UV!i\klie!]fi!]lik_\i!k\jk`dfepu!Xe[!k_Xk!tD>@!dXp!\ogcfi\!fk_\i!fgk`fej!`e!c`\l!f]!
                  ]XZ`c`kXk`e^!pfli!i\klie*!jlZ_!Xj!XiiXe^`e^!]fi!m`[\f!k\c\Zfe]\i\eZ\!fi!k\c\g_fe`Z!
                  k\jk`dfep*!`]!Xggifgi`Xk\,u!!De!XZZfi[XeZ\!n`k_!k_\!A<L*!D>@!f]k\e!kXb\j!k_\!



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   !!! 9CC!C,M,!3633*!//1k_!>fe^,!'0./1(!'Acffi!<[fgk\[!<d\e[d\ekj(*!?T?GJ?@JC!?R!
_kkg8--Xggifgi`Xk`fej,_flj\,^fm-lgcfX[\[]`c\j-.4,.5,/0W_fd\cXe[Wj\Zli`kpW]cffiWX[fgk\[WXd\e
[d\ekj,g[],!
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  !!    JNB!G\kk\i*!<gg\e[`o!?!'Ki\m`flj!A<L(*!Xk!/,!


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                             gfj`k`fe!k_Xk!i\klie!`j!lee\Z\jjXip!n_\e!Xe!`dd`^iXk`fe!Zflik!_\Xi`e^!dXp!kXb\!
                             gcXZ\!Yp!m`[\f!fi!Yp!g_fe\,/0!!
              !
       (      >IXYVR!/JXIV!?YGGIIHMRK!SR!>IQERH!XS!XLI!7QQMKVEXMSR!1SYVX!SV!0SEVH&!!D]!Xe!
              `e[`m`[lXc!`j!efk!i\klie\[!X]k\i!jlZZ\\[`e^!fe!X!KAM*!Ylk!lck`dXk\cp!fm\iZfd\j!k_\!
              fYjkXZc\j!Xe[!n`ej!_`j!fi!_\i!ZXj\!n_`c\!XYifX[*!D>@!n`cc!i\klie!k_\!g\ijfe!n_\e!tk_\!
              =fXi[!fi!Ddd`^iXk`fe!>flik!\ek\ij!X!]`eXc!Xe[!lei\m`\nXYc\![\Z`j`fe!k_Xk!g\id`kj!Uk_\!
              efeZ`k`q\eV!kf!Y\!g_pj`ZXccp!gi\j\ek!`e!k_\!Pe`k\[!NkXk\j,u/1!
!
       (      `3\XVESVHMREV]!1MVGYQWXERGIWa!3\GITXMSR&!!@m\e!`]!X!g\ijfe!jXk`j]`\j!fe\!f]!k_\!
              Zfe[`k`fej![\jZi`Y\[!XYfm\!Xe[!hlXc`]`\j!]fi!i\klie!le[\i!k_\![`i\Zk`m\*!D>@!n`cc!fecp!
              ]XZ`c`kXk\!i\klie!tUXVYj\ek!\okiXfi[`eXip!Z`iZldjkXeZ\j,u!!O_\!A<L!jkXk\j!k_Xk!k_\j\!
              Z`iZldjkXeZ\j!t`eZcl[\*!Ylk!Xi\!LMR!JGKGRCB!RM*!j`klXk`fej!n_\i\!k_\!i\klie!f]!Xe!Xc`\e!
              gi\j\ekj!j\i`flj!eXk`feXc!j\Zli`kp!Zfej`[\iXk`fej!fi!j\i`flj!X[m\ij\!]fi\`^e!gfc`Zp!
              Zfej`[\iXk`fej,u!'\dg_Xj`j!X[[\[(,!!O_`j!e\Ylcflj![\]`e`k`fe![\c\^Xk\j!n`[\![`jZi\k`fe!kf!
              D>@!Xe[!fg\ej!k_\![ffi!kf!dXe`glcXk`fe,!!
              !
       (      ;S!=VI%>IXYVR!2IXIRXMSR!2IXIVQMREXMSR&!O_\![`i\Zk`m\!efk\j!fecp!k_Xk!`k!tdXp![\kX`eu!
              X!efeZ`k`q\e!lgfe!i\klie,!!O_\!A<L!jkXk\j!k_Xk!Xe!`e[`m`[lXc!tdXp!Y\![\kX`e\[!]fi!]lik_\i!
              `dd`^iXk`fe!gifZ\\[`e^ju!lgfe!i\klie![\g\e[`e^!fe!k_\!ZXj\!Z`iZldjkXeZ\j*!n_\k_\i!k_\!
              g\ijfe!`j!tjlYa\Zk!kf!dXe[Xkfip![\k\ek`fe*u!fi!n_\k_\i!k_\!g\ijfe!gfj\j!tX![Xe^\i!kf!k_\!
              Zfddle`kp!fi!i`jb!f]!]c`^_k,u!!D>@sj!i\]ljXc!kf!dXb\!X!Zljkf[p![\k\id`eXk`fe!gi`fi!kf!
              i\klie*!\m\e!]fi!efeZ`k`q\ej!n_f!n\i\!efk!gi\m`fljcp![\kX`e\[!fi!n_f!Zfdgc`\[!n`k_!X!
              mfclekXip![\gXikli\!fi[\i*!`j!lej\kkc`e^,!!Fefn`e^!n_\k_\i!fe\!n`cc!Y\![\kX`e\[!`j!X!b\p!
              ]XZkfi!`e!n\`^_`e^!k_\!i`jbj!Xe[!i\nXi[j!f]!i\klie!Xe[!Zfej`[\i`e^!k_\!k`d`e^!f]!i\klie,!
              !
       (      4EMPYVI!XS!>IXYVR!XS!ERH!=VSZMHI!=VSSJ!SJ!=VI%>IQSZEP!?XEXYW&!!O_\![`i\Zk`m\!jkXk\j!
              k_Xk!D>@!i\^Xi[j!X!i\klie\[!efeZ`k`q\e!Xj!_Xm`e^!k_\!`dd`^iXk`fe!jkXklj!k_Xk!j_\!fi!_\!
              _X[*!`]!Xep*!gi`fi!kf!k_\!\ekip!f]!k_\!i\dfmXc!fi[\i,!!<kkfie\pj!i\gfik!k_Xk!g\ijfej!i\jkfi\[!
              kf!GKM!jkXklj!Yp!X!Zflik!fi[\i!Xi\!kfc[!Yp!D>@!Xe[-fi!ZfejlcXi!gfjkj!XYifX[!k_Xk!k_\`i!
              Zc`\ek!`j!i\hl`i\[!kf!Xggcp!]fi!X!i\klie`e^!i\j`[\ek!m`jX*!n_`Z_!ZXe!kXb\!j\m\iXc!dfek_j,!!
              Hfi\fm\i*!k_\!A<L!jkXk\j!k_Xk!D>@!n`cc!efk!ki\Xk!X!i\klie`e^!efeZ`k`q\e!Xj!Xe!tXii`m`e^!
              Xc`\eu!lec\jj!j_\!fi!_\!nXj!Z_Xi^\[!Xj!Xe!tXii`m`e^!Xc`\eu!gi`fi!kf!i\dfmXc,!!Ife\k_\c\jj*!
              Xkkfie\pj!i\gfik!k_Xk!D>@!]X`cj!kf!gifm`[\!i\klie`e^!efeZ`k`q\ej!n`k_!giff]!k_Xk!k_\p!Xi\!
              i\klie`e^!n`k_!k_\`i!gi\+i\dfmXc!jkXklj,!!!
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   !!    IfeZ`k`q\ej!]fiZ\[!kf!gifZ\\[!]ifd!XYifX[!f]k\e!]XZ\!gifYc\dj!jlZ_!Xj!c`d`k\[!
Zfddle`ZXk`fe!n`k_!k_\`i!Zflej\c*![`]]`Zlckp!gi\j\ek`e^!Xe[!i\m`\n`e^!\m`[\eZ\*!Xe[!
k\Z_efcf^`ZXc!dXc]leZk`fej!fi!]X`cli\j,!!Rfij\!jk`cc*!giXZk`k`fe\ij!_Xm\!i\gfik\[!k_Xk*!n_\i\!
Zc`\ekj!n\i\!leXYc\!kf!Xgg\Xi!`e!g\ijfe*!DEj!_Xm\!Zcfj\[!ZXj\j!fi!Zfej`[\i\[!`jjl`e^!GL!?@QCLRG?!
fi[\ij,!!!
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  !!     <ck_fl^_!k_\!A<L!ZcX`dj!k_Xk!tUdVfjk!Zflikj!Xe[!dXep!]fi\`^e!\dYXjj`\j!_Xm\!k_\!
k\Z_efcf^pu!kf!Zfe[lZk!m`[\f!fi!k\c\Zfe]\i\eZ\!_\Xi`e^j*!k_\i\!`j!ef!fk_\i!`e[`ZXk`fe!f]!X!jpjk\d!
kf!]XZ`c`kXk\!m`[\fZfe]\i\eZ`e^!]ifd!XYifX[,!!N\Zi\kXip!>c`ekfesj!ZXYc\!kf!ZfejlcXi!f]]`Z\j*!QCC!
JNB!G\kk\i*!<gg\e[`o!@*![f\j!efk!ZfekX`e!Xep!`ejkilZk`fe!fe!]XZ`c`kXk`e^!m`[\fZfe]\i\eZ`e^,!


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              !
       (      4EGMPMXEXMSR!SJ!>IXYVR!XLVSYKL!=EVSPI&!!O_\![`i\Zk`m\!jkXk\j!k_Xk!D>@!n`cc!t`]!nXiiXek\[*!
              gXifc\!k_\!Xc`\e!`ekf!k_\!Pe`k\[!NkXk\j,u!!O_\!A<L!jkXk\j!k_Xk!D>@!n`cc!tnfib!n`k_!k_\!
              D>@!Cfd\cXe[!N\Zli`kp!Dem\jk`^Xk`fej!GXn!@e]fiZ\d\ek!KXifc\!Pe`k!'G@KP(u!kf!XiiXe^\!
              gifg\i!kiXejgfikXk`fe![fZld\ekj,!!Of!k_\!\ok\ek!k_Xk!D>@!`j!gXifc`e^!`e!i\klie`e^!
              efeZ`k`q\ej!n_f!n\i\!LMR![\\d\[!tXii`m`e^!Xc`\eju!gi`fi!kf!k_\`i!i\dfmXc!fi[\i*!k_`j!
              d\Z_Xe`jd!`j!Xk!f[[j!n`k_!k_\!A<Lsj!gifd`j\!k_Xk!D>@!kpg`ZXccp!n`cc!efk!ki\Xk!i\klie`e^!
              `e[`m`[lXcj!Xj!tXii`m`e^!Xc`\ej,u!!KXifc\\j!Xi\!jlYa\Zk!kf!^ifle[j!f]!`eX[d`jj`Y`c`kp!le[\i!
              6!P,N,>,!y!//60'X(!Xe[![\k\ek`fe!n`k_flk!X!Yfe[!_\Xi`e^*!QCC!6!>,A,M,!y!
              /..1,/7'_('0('`('=(,!!HXee\i!f]!\ekip!`jjl\j!Xi\![`jZljj\[!`e!KXik!DQ,>,!!
!
       (      1SWX%=VSLMFMXMZI&!!O_\![`i\Zk`m\!jkXk\j!k_Xk!tU]VXZ`c`kXk`e^!Xe!Xc`\esj!i\klie![f\j!efk!
              e\Z\jjXi`cp!`eZcl[\!]le[`e^!k_\!Xc`\esj!kiXm\c!m`X!Zfdd\iZ`Xc!ZXii`\i!kf!k_\!Pe`k\[!NkXk\j!
              fi!dXb`e^!]c`^_k!XiiXe^\d\ekj!]fi!k_\!Xc`\e,u!!O_\!A<L!jkXk\j!k_Xk!X!gi\mX`c`e^!c`k`^Xek!
              n_f!_X[!Xe!X[d`e`jkiXk`m\cp!]`eXc!fi[\i!Ylk!nXj!efk!^iXek\[!X!jkXp!f]!i\dfmXc!tn`cc!Y\!
              i\jgfej`Yc\!]fi!`eZlii`e^!k_\!Zfjkj!]fi!i\klie`e^!kf!k_\!Pe`k\[!NkXk\j!kf!i\jld\!_`j!fi!_\i!
              gi`fi!`dd`^iXk`fe!jkXklj!Xe[-fi!kf!Zfek`el\!kf!glijl\!_`j!fi!_\i!`dd`^iXk`fe!ZXj\,u/2!!
              Hfi\fm\i*!j`eZ\!k_\!kiXejgfikXk`fe![fZld\ek!k_Xk!D>@!fi!?JN!`jjl\j!'QCC!KXik!DQ,>(!dXp!
              Y\!mXc`[!]fi!fecp!X!n\\b!fi!c\jj*!k_\!Zfjk!f]!X!]c`^_k!fe!jlZ_!j_fik!efk`Z\!ZXe!Y\!\ofiY`kXek,!!
              <[[`k`feXccp*!`e!dfjk!ZXj\j*!`k!`j!e\Z\jjXip!kf!i\kX`e!X!cXnp\i!kf!eXm`^Xk\!k_\!i\klie!
              gifZ\jj!Xe[*!`]!e\Z\jjXip*!]`c\!X!]\[\iXc!Zflik!XZk`fe!kf!Zfdg\c!i\klie,!!O_`j!X[[`k`feXc!
              \og\ej\!Xcjf!dXp!gi\m\ek!X!efeZ`k`q\e!]ifd!i\klie`e^!kf!k_\!Pe`k\[!NkXk\j,/3!

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j\\b`e^!X!jkXp!f]!i\dfmXc!Xe[!`e!d\i`kj!Yi`\]`e^!kf!k_\!Zflik!f]!Xgg\Xcj!`e!X!g\k`k`fe!]fi!i\m`\n,!
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   !!     O_\!^fm\ied\ek!i\Z\ekcp!i\`k\iXk\[!`kj!jk\X[]Xjk!i\]ljXc!kf!Xjj`jk!n`k_!gXpd\ek!]fi!i\klie*!
efk`e^!k_Xk!g\k`k`fe\ij!tXi\!]i\\!kf!iX`j\u!k_`j!`jjl\!`e!X!jkXp!dfk`fe!kf!k_\!Zflik!f]!Xgg\Xcj,!
OiXejZi`gk!f]!JiXc!<i^ld\ek*!5?R#J!0KKGEP?RGML!7PMHCAR!MD!5?R&!3?UWCPQ!.SGJB!T&!<&9&!+CN#R!MD!
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i\jgfej`Y`c`kp*!Xe[!n\![`[!efk!dXb\!X!i\gi\j\ekXk`fe!XYflk!k_Xk,!!Ifn*!`]!X!g\ijfe!,!,!,!Y\c`\m\j!
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              j\!c`k`^Xekj!n_f!Xi\!XYifX[!'\`k_\i!Y\ZXlj\!k_\!Zflik![\e`\[!k_\`i!jkXp!i\hl\jk!fi!k_\p![`[!
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]`eXeZ`e^!gfjk+i\dfmXc!kiXm\cu(,!!
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   !!   9CC*!C,E,*!O`Xep`e!Glf!Xe[!N\Xe!GX`!HZHX_fe*!=GARMPW!+CLGCB'!(DRCP!>GLLGLE!6L!
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              ?CN!dXp!Z_Xe^\!`kj!gfj`k`fe!fe!i\kliej!Xk!Xep!k`d\,/7!!?CN![`[!efk!glYc`j_!k_\![`i\Zk`m\!
              `e!k_\!A\[\iXc!M\^`jk\i*!Xj!i\hl`i\[!Yp!k_\!<[d`e`jkiXk`m\!KifZ\[li\!<Zk!'<K<(*!3!P,N,>,!
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giXZk`ZXc!fYjkXZc\j!kf!i\klie!Xcc!gi\j\ek!j`^e`]`ZXek!Z_Xcc\e^\j!kf!gi\mX`c`e^!c`k`^Xekj,!!D]!k_\!
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dXp!i\]lj\!kf!i\klie!k_\!g\ijfe!n_`c\!k_\!=D<!Xgg\Xc!`j!g\e[`e^,!!NlZ_!i\]ljXc!dXp!nXiiXek!X!
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gi\j\ek!'\,^,*!]fi!Xe!`e[`m`[lXc!_\Xi`e^!Y\]fi\!Xe!DE(,!!D]!D>@![\kX`ej!X!efeZ`k`q\e!lgfe!_\i!fi!_`j!
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kf!i\klie!kf!k_\!Pe`k\[!NkXk\j,!!O_\j\!`e[`m`[lXcj!Xcjf!dljk!gifm`[\!D>@!n`k_!Z\ikX`e!`e]fidXk`fe*!
n_`Z_!`j!jg\Z`]`\[!`e!k_\!jXdgc\!c\kk\i!Xk!k_\!\e[!f]!k_`j!X[m`jfip*!Xe[!`eZcl[\j!k_\!]fccfn`e^8!
gXjjgfik!eldY\i!Xe[!\og`iXk`fe![Xk\9!k_\!X[[i\jj!Xe[!k\c\g_fe\!eldY\i!]fi!k_\!gcXZ\!n_\i\!k_\!
g\ijfe!`ek\e[j!kf!c`m\!lgfe!i\klie9!k_\!Zcfj\jk!P,N,!ZfejlcXk\!n_\i\!k_\!g\ijfe!ZXe!fYkX`e!
e\Z\jjXip!gXg\infib9!Xe[!k_\!Xek`Z`gXk\[!gfik!f]!\ekip!'X`igfik!fi!Yfi[\i!\ekip!gf`ek(,01!!!

       !      0&!            1SRXEGX!ERH!>IKYPEV!4SPPS[!AT![MXL!713!!
O_\!A<L!`ejkilZkj!`e[`m`[lXcj!fi!k_\`i!i\gi\j\ekXk`m\j02!kf!X]]`idXk`m\cp!ZfekXZk!@MJ!Jlki\XZ_!
k_ifl^_!`kj!?\k\ek`fe!M\gfik`e^!Xe[!De]fidXk`fe!G`e\!'/+666+13/+2.02(!fi!X!^\e\i`Z!\dX`c!
X[[i\jj!'@MJ,DIAJ;`Z\,[_j,^fm(!Xe[!ZcX`dj!k_Xk!D>@!n`cc!Xjj`^e!X!gf`ek!f]!ZfekXZk!kf!]XZ`c`kXk\!
i\klie,!!N`^e`]`ZXekcp*!_fn\m\i*!Y\ZXlj\!X!g\ijfe!dXp!e\\[!kf!]`c\!X!]\[\iXc!Zflik!XZk`fe!kf!
Zfdg\c!i\klie*!`k!`j!X[m`jXYc\!kf![fZld\ek!Xcc!i\klie!\]]fikj!Yp!ZfekXZk`e^!D>@!m`X!\dX`c!Xe[!

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00
   !!   D]!k_\!Zflik!f]!Xgg\Xcj!fi[\i\[!i\dfmXc!gifZ\\[`e^j!k\id`eXk\[*!D>@!j_flc[!efk![\kX`e!k_\!
efeZ`k`q\e!Xk!Xcc,!!
01
   !!   Of![\k\id`e\!k_\!e\Xi\jk!cXe[!Yfi[\i*!Zfejlck!k_`j!c`jk!f]!P,N,!gfikj!f]!\ekip8!
_kkg8--nnn,ZYg,^fm-ZfekXZk-gfikj*!cXjk!m`j`k\[8!<gi`c!05*!0./3,!
02
   !!   <ZZfi[`e^!kf!k_\!A<L*!Xkkfie\pj!Xe[!XZZi\[`k\[!i\gi\j\ekXk`m\j!e\\[!kf!jlYd`k!Afid!B+
06,!!Jk_\i!`e[`m`[lXcj!j\\b`e^!kf!Xjj`jk!n`k_!i\klie!e\\[!kf!jlYd`k!Xe!D>@!Ki`mXZp!RX`m\i!Afid,!!


                                                               7!
!
ZZ8`e^!Xkkfie\pj!]ifd!k_\!J]]`Z\!f]!Ddd`^iXk`fe!G`k`^Xk`fe!'n_f!c`k`^Xk\[!k_\!KAM(!Xe[-fi!k_\!
D>@!>_`\]!>flej\csj!J]]`Z\!'n_f!n`cc!i\gi\j\ek!D>@!`e!i\dXe[\[!fi!i\fg\e\[!i\dfmXc!
gifZ\\[`e^j(,!!!
Dk!`j!Xcjf!X[m`jXYc\!kf!Zfdgc\k\!k_\!D>@*!@e]fiZ\d\ek!Xe[!M\dfmXc!Jg\iXk`fej!t@MJu!>fekXZk!
Afid*!n_`Z_!`j!XmX`cXYc\!Xk!_kkgj8--nnn,`Z\,^fm-n\Y]fid-\if+ZfekXZk+]fid,!!<![\j`^eXk\[!lj\!
]fi!k_\!]fid!`eZcl[\j!tAXZ`c`kXk`fe!f]!M\klie!kf!k_\!P,N,!]fi!>flik!KifZ\\[`e^j,u!!!!
KiXZk`k`fe\ij!i\gfik!k_Xk!D>@!dXp!i\jgfe[!n`k_!le_\cg]lc!`e]fidXk`fe*!dXp!kXb\!X!cfe^!k`d\!kf!
i\jgfe[*!fi!dXp!efk!i\jgfe[!Xk!Xcc,!!D]!D>@!i\jgfe[j!Xe[!X^i\\j!k_Xk!X!g\ijfe!ZXe!i\klie*!D>@!`j!
jlggfj\[!kf!Xjj`^e!X!gf`ek!f]!ZfekXZk!kf!Zffi[`eXk\!k_\!i\klie,!!Cfn\m\i*!giXZk`k`fe\ij!j_flc[!
\og\Zk!k_Xk!D>@!n`cc!efk!k`d\cp!i\jgfe[!fi!n`cc!efk!i\jgfe[!Xk!Xcc!kf!X!i\hl\jk!kf!]XZ`c`kXk\!i\klie*!
Xe[*!k_\i\]fi\*!j_flc[!i\^lcXicp!j\e[!]fccfn+lg!\dX`cj!Xe[!dXb\!g_fe\!ZXccj*!Xcc!f]!n_`Z_!j_flc[!
Y\![fZld\ek\[!`e!Xek`Z`gXk`fe!f]!]\[\iXc!Zflik!XZk`fe,!!!

      1&!      9IGLERMGW!SJ!713%4EGMPMXEXIH!>IXYVR!!
@m\e!`e!j`klXk`fej!n_\i\!D>@!X^i\\j!kf!]XZ`c`kXk\!i\klie*!giXZk`k`fe\ij!i\gfik!X!j`^e`]`ZXek!cXZb!f]!
Zffi[`eXk`fe!n`k_`e!Xe[!Xdfe^!D>@*!?JN*!Xe[!>ljkfdj!Xe[!=fi[\i!Kifk\Zk`fe!'>=K(,!!<j!
[`jZljj\[!XYfm\*!D>@!^\e\iXccp!_Xj!i\]lj\[!kf!i\klie!GKMj!k_\`i!GKM!ZXi[j!jf!k_Xk!k_\p!dXp!lj\!
k_\d!kf!kiXm\c!YXZb!kf!k_\!Pe`k\[!NkXk\j,!!<e[!feZ\!Xe!GKM!_Xj!i\klie\[*!PN>DN!_Xj![\e`\[!k_\!
g\ijfesj!D+7.!Xggc`ZXk`fe!kf!i\gcXZ\!_\i!fi!_`j!GKM!ZXi[,!D]!PN>DN!i\]lj\j!kf!`jjl\!k_\!ZXi[*!
Zfej`[\i!Xjb`e^!k_\!D>@!gf`ek!f]!ZfekXZk!kf!Zfddle`ZXk\!n`k_!_\i!j`jk\i!X^\eZp!kf!\ejli\!k_Xk!
PN>DN!`jjl\j!k_\!ZXi[,!!D]!k_`j!\]]fik!]X`cj*!Zfej`[\i!\mXclXk`e^!]\[\iXc!Zflik!fgk`fej,!!
<ZZfi[`e^!kf!k_\![`i\Zk`m\*!D>@!`j!jlggfj\[!kf!\e^X^\!`e!XZk`m`k`\j!k_Xk!nflc[!Xccfn!k_\!g\ijfe!kf!
kiXm\c!kf!k_\!Pe`k\[!NkXk\j,!!O_\![`i\Zk`m\!jg\Z`]`ZXccp!d\ek`fej!`jjlXeZ\!f]!X!=fXi[`e^!G\kk\i!
'Xcjf!befne!Xj!X!tkiXejgfikXk`fe!c\kk\iu(!kf!g\id`k!Zfdd\iZ`Xc!X`i!kiXm\c!Xe[!gXifc\!lgfe!Xii`mXc!
Xk!X!P,N,!gfik!f]!\ekip,!!

       !       *8+59768;+;265!&/;;/89!!
De!e\Xicp!Xcc!ZXj\j!`k!`j!X[m`jXYc\!kf!i\hl\jk!`jjlXeZ\!f]!X!kiXejgfikXk`fe!c\kk\i*!n_`Z_!^\e\iXccp!`j!
fYkX`e\[!]ifd!k_\!e\Xi\jk!P,N,!\dYXjjp!fi!ZfejlcXk\,!!O_`j![fZld\ek!Xccfnj!X!i\klie`e^!
efeZ`k`q\e!kf!YfXi[!X!Zfdd\iZ`Xc!X`igcXe\!fi!YfXk!kf!Zfd\!kf!k_\!Pe`k\[!NkXk\j,!!<`ic`e\j!n`cc!efk!
g\id`k!gXjj\e^\ij!kf!YfXi[!`ek\ieXk`feXc!]c`^_kj!n`k_flk!gifg\i!kiXm\c![fZld\ekj,!!OiXejgfikXk`fe!
c\kk\ij!Xi\!X[[i\jj\[!kf!gXjj\e^\i!kiXejgfikXk`fe!ZfdgXe`\j!Xe[!jlg\im`jfip!`dd`^iXk`fe!
`ejg\Zkfij!Xk!k_\!`ek\e[`e^!gfik!f]!\ekip,!!O_\!c\kk\ij!^\e\iXccp!jkXk\!k_Xk!k_\!c\kk\i!_fc[\i!`j!
Zfej`[\i\[!gifg\icp![fZld\ek\[!kf!kiXm\c!kf!k_\!Pe`k\j!NkXk\j!Xe[!Xjjli\!k_\!ZXii`\i!k_Xk!`k!n`cc!
efk!Y\!jlYa\Zk!kf!c`XY`c`kp!]fi!kiXejgfik`e^!k_\!g\ijfe,!!
<e!`e[`m`[lXc!dljk!gi\j\ek!X!mXc`[!gXjjgfik!fi!\hl`mXc\ek![fZld\ekXk`fe!kf!fYkX`e!k_\!
kiXejgfikXk`fe!c\kk\i,!!O_\!g\ijfe!n_f!`jjl\j!k_\!kiXejgfikXk`fe!c\kk\i!dXp!Y\!X!ZfejlcXi!
\dgcfp\\*!Xe!D>@!XkkXZ_{*!fi!X!PN>DN!f]]`Z\i!jkXk`fe\[!fm\ij\Xj,!!KiXZk`k`fe\ij!_Xm\!i\gfik\[!
Zfe]lj`fe!Xe[![\cXp!Xdfe^!ZfejlcXi!f]]`Z`Xcj!Xe[!d`jZfddle`ZXk`fe!Y\kn\\e!k_\d!Xe[!D>@,!




                                                  /.!
!
K\ij`jk\eZ\!n`k_!D>@!Xe[!k_\!cfZXc!P,N,!\dYXjjp!fi!ZfejlcXk\!`j!k_\!Y\jk!XggifXZ_!kf!fm\iZfd\!
k_`j!gifYc\d*!`e!k_\!XYj\eZ\!f]!X!dfi\!jpjk\d`Z!Z_Xe^\!kf!k_\!Zlii\ek!gifZ\jj,03!

              !              (+863/!
O_\![`i\Zk`m\!jkXk\j!i\klie`e^!efeZ`k`q\ej!n`cc!_Xm\!k_\!`dd`^iXk`fe!jkXklj!k_Xk!k_\p!_X[*!`]!Xep*!
gi`fi!kf!k_\!\ekip!f]!k_\!i\dfmXc!fi[\i*!Xe[!k_\!A<L!gifm`[\j!k_Xk!tUYV\ZXlj\!D>@!i\^Xi[j!pfl!Xj!
i\klie`e^!kf!pfli!gi`fi!jkXklj*!D>@!n`cc!efk!ki\Xk!pfl!Xj!Xe!Xii`m`e^!Xc`\e!lec\jj!pfl!_X[!Y\\e!
Z_Xi^\[!Xj!Xe!Xii`m`e^!Xc`\e!gi`fi!kf!i\dfmXc,u!!Ife\k_\c\jj*!k_\!D>@![`i\Zk`m\!i\]\ij!kf!gXifc\!Xj!
X!d\Z_Xe`jd!]fi!i\klie*!n`k_flk!jg\Z`]p`e^!k_Xk!gXifc\!nflc[!fecp!Y\!Xggifgi`Xk\!]fi!k_fj\!
n_fd!?CN![\\d\[!Xii`m`e^!Xc`\ej!gi`fi!kf!k_\`i!i\dfmXc!fi[\i,!!Of!k_\!\ok\ek!k_Xk!Yfk_!k_\!A<L!
Xe[![`i\Zk`m\!jl^^\jk!k_Xk!gXifc\!nflc[!Y\!X!gifg\i!d\Z_Xe`jd!]fi!i\klie!]fi!`e[`m`[lXcj!n_f!
n\i\!efk!Xii`m`e^!Xc`\ej!n_\e!k_\p!n\i\![\gfik\[*!jlZ_!X!gfc`Zp!_Xj!j\i`flj*!e\^Xk`m\!
Zfej\hl\eZ\j,!
A`ijk*!k_\i\!`j!ef!^lXiXek\\!k_Xk!>=K!n`cc!Xccfn!k_\!g\ijfe!YXZb!`ekf!k_\!Pe`k\[!NkXk\j,!!>=K!
`ejkilZk`fej!fe!gXifc\!Zc\Xicp!gifm`[\!k_Xk!Yfi[\i!f]]`Z`Xcj!ZXe!fm\ii`[\!X!gi`fi![\Z`j`fe!kf!^iXek!
gXifc\,04!!
N\Zfe[*!gXifc\![f\j!efk!Zfejk`klk\!Xe!X[d`jj`fe*!QCC!6!P,N,>,!y!//60'[('3(*!Xe[!gXifc\\j!i\dX`e!
jlYa\Zk!kf!^ifle[j!f]!`eX[d`jj`Y`c`kp!le[\i!y!//60'X(!X]k\i!gXjj`e^!`ekf!k_\!Pe`k\[!NkXk\j,!
O_`i[*!gXifc\\j!Xi\!jlYa\Zk!kf![\k\ek`fe!n`k_flk!X!Yfe[!_\Xi`e^,!!6!>,A,M,!y!/..1,/7'_('0('`('=(,!
Aflik_*!gXifc\!`j!k\dgfiXip*!cXjk`e^!fecp!Xj!cfe^!D>@!Xlk_fi`q\j,!!De!jfd\!ZXj\j*!D>@!_Xj!^iXek\[!
gXifc\!]fi!c\jj!k_Xe!X!dfek_*!\m\e!k_fl^_!i\dXe[\[!i\dfmXc!gifZ\\[`e^j!dXp!cXjk!dlZ_!cfe^\i,!!
KXifc\\j!`e!k_`j!j`klXk`fe!dljk!i\hl\jk!k_Xk!D>@!i\e\n!k_\`i!gXifc\*!Xe[!dXp!_Xm\!kf!dXb\!]lik_\i!
i\e\nXc!i\hl\jkj!Xj!gXifc\!\og`iXk`fe![Xk\j!XggifXZ_,!
De!X[[`k`fe*!k_\i\!dXp!Y\!legi\[`ZkXYc\!X[m\ij\!Zfej\hl\eZ\j!f]!\ek\i`e^!fe!gXifc\,!!Afi!
\oXdgc\*!`]!k_\!i\klie!gfc`Zp!`j!i\jZ`e[\[!fi!jlYjkXek`Xccp!i\m`j\[!`e!k_\!]lkli\*!`k!dXp!Y\![`]]`Zlck!
kf!Zfem`eZ\!Xe!`dd`^iXk`fe!f]]`Z\i!/.!p\Xij!]ifd!efn!k_Xk!k_\!g\ijfe!i\klie\[!le[\i!k_\!gfc`Zp!
n`k_!_\i!fi!_`j!gi\+i\dfmXc!jkXklj,05!!B`m\e!k_\j\!Zfej\hl\eZ\j*!n\!jkife^cp!\eZfliX^\!
`e[`m`[lXcj!kf!i\hl\jk!X!kiXejgfikXk`fe!c\kk\i!fi!lj\!X!mXc`[!GKM!ZXi[!'`]!gfjj`Yc\(,!!!
D]!D>@!`ej`jkj!fe!]XZ`c`kXk`e^!i\klie!m`X!gXifc\*!fe\!ZXe!Xkk\dgk!kf!d`e`d`q\!k_\!gfk\ek`Xc!
Zfej\hl\eZ\j!Yp!i\hl\jk`e^!k_Xk!D>@!fi!>=K!XeefkXk\!k_\!gXifc\![fZld\ek*!D+72*!Xe[-fi!k_\!
g\ijfesj!gXjjgfik!kf!i\]c\Zk!\ekip!`e!gi\+i\dfmXc!jkXklj,!!F\\g!`e!d`e[!k_Xk!n_\e!X!g\ijfe!`j!
Y\`e^!gXifc\[!`e*!D>@!^\e\iXccp!`ejkilZkj!>=K!kf!gXifc\!k_\!Zc`\ek!`e!Xk!X!jg\Z`]`Z!gfik!f]!\ekip!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!! !!!!!!!!!!!!!!!!!!!
03
   !!   Afi!\oXdgc\*!fe\!Xkkfie\p!i\gfik\[!k_Xk!D>@!j\ek!k_\!g\k`k`fe\isj!kiXejgfikXk`fe!c\kk\i!kf!
k_\!\dYXjjp!\c\m\e![Xpj!Y\]fi\!_`j!jZ_\[lc\[!i\klie![Xk\,!O_\!c\kk\i!k_\e!jXk!`e!k_\!\dYXjjpsj!
dX`ciffd!]fi![Xpj,!!Jecp!Xj!X!i\jlck!f]!k_\!Xkkfie\psj!]fccfn!lg!ZXccj![`[!k_\!\dYXjjp!]`eXccp!
cfZXk\!k_\!c\kk\i!fe!k_\![Xk\!k_\!g\k`k`fe\i!nXj!jZ_\[lc\[!kf!i\klie,!!
04
   !!   >=K!?`i\Zk`m\!If,!112.+.21*!Xk!3!'@o\iZ`j\!f]!?`jZi\k`feXip!<lk_fi`kp(!'N\gk,!1*!0..6(,!
05
   !!   Ifk\!Xcjf!k_Xk!`dd`^iXk`fe!]fidj!f]k\e!n`cc!Xjb!]fi!k_\!Xggc`ZXeksj!tdXee\i!f]!cXjk!\ekipu!
`ekf!k_\!Pe`k\[!NkXk\j*!QCC*!C&E&*!<ggc`ZXk`fe!]fi!@dgcfpd\ek!<lk_fi`qXk`fe*!Xe[!k_lj!k_\!X^\eZp!
nflc[!c`b\cp!Xjjld\!k_Xk!X!g\ijfe!n_f!\ek\i\[!fe!gXifc\!nXj!Xe!Xii`m`e^!Xc`\e,!!!


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!
[li`e^!X!jg\Z`]`Z!n`e[fn!f]!k`d\!le[\i!6!P,N,>,!y!//60'[('3(,!!D>@!dXp!Xjj`^e!X!gXifc\!
i\]\i\eZ\!eldY\i!kf!Xe!`e[`m`[lXc,!!<^X`e*!Xcc!i\klie`e^!efeZ`k`q\ej!dljk!Xcjf!gfjj\jj!X!mXc`[!
gXjjgfik!fi!\hl`mXc\ek![fZld\ekXk`fe,!

B&            4IHIVEP!1SYVX!<TXMSRW!

    !         /&!            <ZIVZMI[!
                             (&!            8MXMKEXMSR!XS!/HHVIWW!713_W!>IJYWEP!XS!>IWTIGX!E!4IHIVEP!SV!
                                            /HQMRMWXVEXMZI!1SYVX!<VHIV!
@m\e!`e!k_\!nXb\!f]!`kj!gfc`Zp![`i\Zk`m\*!D>@!jk`cc!iflk`e\cp!]X`cj!kf!]XZ`c`kXk\!k_\!i\klie!f]!
`e[`m`[lXcj!X]k\i!k_\p!gi\mX`c!`e!]\[\iXc!Xe[!X[d`e`jkiXk`m\!Zflikj,!!NlZ_!]X`cli\j!le[\ijZfi\!X!
]le[Xd\ekXc!cXZb!f]!i\jg\Zk!]fi!X[d`e`jkiXk`m\!Xe[!Zflik!fi[\ij,!!D]!D>@!\ogi\jjcp!i\]lj\j!kf!
]XZ`c`kXk\!i\klie!fi!ZfejkilZk`m\cp!i\]lj\j!'\,^,*!`j!efe+i\jgfej`m\(*!c`k`^Xk`fe!fgk`fej!dXp!Y\!
Zfej`[\i\[,!!!
<ep!D>@!i\]ljXc!kf!i\klie!jfd\fe\!n_f!_Xj!gi\mX`c\[!fe!X!g\k`k`fe!]fi!i\m`\n!Xi^lXYcp!
Zfejk`klk\j!X!i\]ljXc!kf!Zfdgcp!n`k_!k_\!Z`iZl`k!Zfliksj!fi[\i!^iXek`e^!k_\!g\k`k`fe!]fi!i\m`\n,!!De!
ZXj\j!n_\i\!k_\!Zfliksj!fi[\i!i\jkfi\j!GKM!jkXklj*!D>@sj!i\]ljXc!kf!]XZ`c`kXk\!i\klie!Xcjf!m`fcXk\j!
`kj!fne!gfc`Zp![`i\Zk`m\,!!G`b\n`j\*!D>@sj!i\]ljXc!kf!i\klie!jfd\fe\!n_f!gi\mX`cj!fe!Xe!
X[d`e`jkiXk`m\!dfk`fe!Zfejk`klk\j!X!i\]ljXc!kf!Zfdgcp!n`k_!Xe!DE!fi!=D<!fi[\i!^iXek`e^!i\fg\e`e^!
fi!i\Zfej`[\iXk`fe,!!!
O_\i\!`j!ef!d\Xe`e^]lc![`jk`eZk`fe!Y\kn\\e!gi\mX`c`e^!fe!X!g\k`k`fe!]fi!i\m`\n!Xe[!gi\mX`c`e^!fe!
X!dfk`fe!kf!i\fg\e!fi!i\Zfej`[\i,!!O_\!jkXklkfip!i`^_k!kf!al[`Z`Xc!i\m`\n*!6!P,N,>,!y!/030'X(*!
nflc[!Y\!d\Xe`e^c\jj!`]!X!g\k`k`fe\i!Zflc[!efk!Y\e\]`k!]ifd!X!]XmfiXYc\!<ik`Zc\!DDD!>flik!
[\Z`j`fe,!!N`d`cXicp*!k_\!jkXklkfip!i`^_kj!kf!i\Zfej`[\iXk`fe!Xe[!i\fg\e`e^*!6!P,N,>,!yy!
/007X'Z('4(%'5(*06!Xe[!i\^lcXkfip!i`^_kj!kf!i\fg\e`e^!jlX!jgfek\*!6!>,A,M,!yy!/..1,01!Xe[!
/..1,0'X(*!nflc[!Y\!d\Xe`e^c\jj!`]!X!efeZ`k`q\e!Zflc[!efk!Y\e\]`k!]ifd!X!]XmfiXYc\!`dd`^iXk`fe!
Zflik!fi!=D<![\Z`j`fe,!!Hfi\fm\i*!k_\!\]]\Zk!fe!k_\!i\dfmXc!fi[\i!`j!k_\!jXd\!i\^Xi[c\jj!n_\k_\i!

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06
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<k!k_\!\e[!f]!k_\!ZfdgcX`ek*!n\!jl^^\jk!Xjb`e^!k_\![`jki`Zk!Zflik!kf8!'X(!XZZ\gk!ali`j[`Zk`fe!fm\i!
k_\!XZk`fe9!'Y(![\ZcXi\!k_Xk![\]\e[Xekjs!i\]ljXc!kf!]XZ`c`kXk\!k_\!gcX`ek`]]sj!i\klie!kf!k_\!Pe`k\[!
NkXk\j!m`fcXk\j!k_\!Ddd`^iXk`fe!Xe[!IXk`feXc`kp!<Zk*!k_\!A`]k_!<d\e[d\eksj!?l\!KifZ\jj!>cXlj\*!
Xe[!k_\!<[d`e`jkiXk`m\!KifZ\[li\!<Zk9!'Z(!fi[\i![\]\e[Xekj!kf!`dd\[`Xk\cp!]XZ`c`kXk\!gcX`ek`]]sj!
gifdgk!i\klie!kf!k_\!Pe`k\[!NkXk\j!v!\`k_\i!glijlXek!kf!A\[\iXc!Mlc\!f]!>`m`c!KifZ\[li\!43*!
glijlXek!kf!X!ni`k!f]!dXe[Xdlj!fi!glijlXek!kf!k_\!Zfliksj!`e_\i\ek!gfn\ij!le[\i!06!P,N,>,!y!
/43/!Xe[!<ik`Zc\!DDD9!'[(!^iXek!Xkkfie\pjs!]\\j!Xe[!Zfjkj!le[\i!06!P,N,>,!y!02/0*!06!P,N,>,!y!
/70.*!A\[,!M,!>`m,!K,!32'[(*!Xe[!Xep!fk_\i!i\c\mXek!Xlk_fi`kp9!Xe[!'\(!^iXek!jlZ_!fk_\i!Xe[!]lik_\i!
i\c`\]!Xj!k_\!Zflik![\\dj!aljk!Xe[!gifg\i!le[\i!k_\!Z`iZldjkXeZ\j,!

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!! !!!!!!!!!!!!!!!!!!!
11
   !!   9CC!3SL?!T&!/MJBCP*!415!A,1[!63*!72!'0[!>`i,!0.//(!'tDe!i\jgfej\!kf!k_\!Nlgi\d\!>flik&j!
[\Z`j`fe!`e!9R&!*WP$!>fe^i\jj!gXjj\[!k_\!M@<G!D?!<Zk*!X^X`e!Z_Xee\c`e^!i\m`\n!f]!i\dfmXc!
fi[\ij!`ekf!k_\!Zflikj!f]!Xgg\Xcj,!!R`k_!k_`j!<Zk*!>fe^i\jj!`ek\e[\[!kf!gifm`[\!X!jZ_\d\!f]!
al[`Z`Xc!i\m`\n!n_`Z_!`j!Xe!X[\hlXk\!Xe[!\]]\Zk`m\!jlYjk`klk\!]fi!_XY\Xj!Zfiglj,u(!'`ek\ieXc!
hlfkXk`fe!dXibj!Xe[!Z`kXk`fej!fd`kk\[(,!!
#%
  !!    9CC!)MSKCBGCLC!T&!)SQF*!331!P,N,!501*!565!'0..6(!'tR\![f!_fc[!k_Xk!n_\e!k_\!al[`Z`Xc!
gfn\i!kf!`jjl\!_XY\Xj!Zfiglj!gifg\icp!`j!`emfb\[!k_\!al[`Z`Xc!f]]`Z\i!dljk!_Xm\!X[\hlXk\!
Xlk_fi`kp!kf!dXb\!X![\k\id`eXk`fe!`e!c`^_k!f]!k_\!i\c\mXek!cXn!Xe[!]XZkj!Xe[!kf!]fidlcXk\!Xe[!
`jjl\!Xggifgi`Xk\!fi[\ij!]fi!i\c`\],u(,!


                                                               /3!
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!             !              )&!            9SXMSRW!>IUYIWXMRK!>IXYVR!"1MVGYMX!1SYVX#!
De!ZXj\j!n_\i\!k_\!Zflik!f]!Xgg\Xcj!\o\iZ`j\[!`kj!ali`j[`Zk`fe!fm\i!k_\!ZXj\*!]fi!\oXdgc\*!`e!X!
g\k`k`fe!]fi!i\m`\n!fi![`jki`Zk!Zflik!Xgg\Xc*!k_\!Z`iZl`k!Zflik!j_flc[!Zfek`el\!kf!_Xm\!ali`j[`Zk`fe!
kf!\ek\ikX`e!dfk`fej!i\cXk\[!kf!k_\!dX`e!ZXj\*!\,^,*!X!dfk`fe!Xjb`e^!k_\!Zflik!kf!fi[\i!k_\!g\ijfesj!
i\klie,!!9CC!A\[,!M,!<gg,!KifZ,!05'X('/(!'t<e!Xggc`ZXk`fe!]fi!Xe!fi[\i!fi!fk_\i!i\c`\]!`j!dX[\!Yp!
dfk`fe!lec\jj!fk_\in`j\!gifm`[\[!Yp!k_\j\!ilc\ju(,!!O_\i\!`j!ef!gXik`ZlcXi!eXd\!]fi!jlZ_!X!
dfk`fe*!Ylk!jfd\!`[\Xj!`eZcl[\8!dfk`fe!kf!\e]fiZ\!Zfliksj!fi[\i*!dfk`fe!kf!fi[\i!i\jgfe[\ek!kf!
ZXlj\!g\k`k`fe\isj!i\klie!kf!k_\!Pe`k\[!NkXk\j*!Xe[!dfk`fe!]fi!XeZ`ccXip!i\c`\]!kf!\e]fiZ\!Zfliksj!
fi[\i,13!!De!\oki\d\!j`klXk`fej*!jfd\!Xkkfie\pj!Xcjf!_Xm\!]`c\[!Zfek\dgk!dfk`fej!]fi!i\]ljXc!kf!
Zfdgcp!n`k_!k_\!Zfliksj!fi[\i,!!

!             !              *&!            9ERHEQYW!"1MVGYMX!1SYVX#!
HXe[Xdlj!`j!Xggifgi`Xk\!kf!dX`ekX`e!k_\!`ek\^i`kp!f]!Xe!\Xic`\i!Zflik![\Z`j`fe,14!!D]!D>@!]cflkj!X!
Z`iZl`k!Zflik![\Z`j`fe!Yp!i\]lj`e^!kf!i\klie!X!g\k`k`fe\i!kf!k_\!Pe`k\[!NkXk\j!]fi!\o\Zlk`fe!f]!k_Xk!
[\Z`j`fe*!k_\!Z`iZl`k!Zflik!Xi^lXYcp!_Xj!k_\!Xlk_fi`kp!Xe[!k_\![lkp!kf!gi\j\im\!k_\!\]]\Zk`m\e\jj!f]!
`kj!\Xic`\i![\Z`j`fe!Yp!\o\iZ`j`e^!dXe[Xdlj!ali`j[`Zk`fe,!
O_\!I`ek_!>`iZl`k![\Z`j`fe!`e!8?KML%9CNSJTCB?!T&!0KKGEP?RGML!"!5?RSP?JGX?RGML!9CPTGAC*!602!
A,0[!527!'7k_!>`i,!/765(*!`j!Xe!\oXdgc\!f]!X!jlZZ\jj]lc!Z`iZl`k!Zflik!dXe[Xdlj!XZk`fe,!!De!k_Xk!
ZXj\*!k_\!I`ek_!>`iZl`k!`jjl\[!X!ni`k!f]!dXe[Xdlj!kf!gi\j\im\!k_\!\]]\Zk!f]!`kj!gi`fi![\Z`j`fe!kf!
^iXek!X!g\k`k`fe!]fi!i\m`\n,!!De!`kj!\Xic`\i![\Z`j`fe*!k_\!Zflik!_\c[!k_Xk!Xe!DE!ZXeefk!i\fg\e!
[\gfikXk`fe!gifZ\\[`e^j!n_\i\!k_\!\m`[\eZ\!'`e!k_Xk!ZXj\*!X!Y`ik_!Z\ik`]`ZXk\(!nXj!efk!te\ncp!
[`jZfm\i\[,u!!0B&!Xk!53.,!!Afccfn`e^!k_Xk![\Z`j`fe*!k_\!]fid\i!Ddd`^iXk`fe!Xe[!IXkliXc`qXk`fe!
N\im`Z\!'DIN(!`e`k`Xk\[!e\n![\gfikXk`fe!gifZ\\[`e^j!YXj\[!jfc\cp!fe!k_\!Q?KC!Y`ik_!Z\ik`]`ZXk\,!!
0B&!!K\k`k`fe\i!k_\e!]`c\[!X!dXe[Xdlj!XZk`fe![`i\Zkcp!n`k_!k_\!Zflik!f]!Xgg\Xcj*!Xi^l`e^!k_Xk!DINs!
`e`k`Xk`fe!f]!e\n!gifZ\\[`e^j!m`fcXk\[!k_\!Zfliksj!\Xic`\i![\Z`j`fe,!!O_\!Zflik!X^i\\[!Xe[!`jjl\[!X!
ni`k!f]!dXe[Xdlj*!jkXk`e^!tU`Vk!`j!fli!dXe[Xk\!k_Xk!k_\!DIN!]cflkj,!!R\!_Xm\!k_\!Xlk_fi`kp!Xe[!k_\!
[lkp!kf!gi\j\im\!k_\!\]]\Zk`m\e\jj!f]!fli!\Xic`\i!al[^d\ek,u!!0B&!Xk!53/,!!!

B7&           ?YKKIWXIH!?XVEXIKMIW!JSV!/ZSMHMRK!%5!",9/5;2+!<VHIVW!MR!>IQSZEP!=VSGIIHMRKW!JSV!
              >IWTSRHIRXW!?XVERHIH!/FVSEH!!

KiXZk`k`fe\ij!dXp!]XZ\!Xe!lgZfd`e^!`dd`^iXk`fe!Zflik!_\Xi`e^!]fi!X!Zc`\ek!n_fd!D>@!_Xj!
i\]lj\[!kf!i\klie,!!De!k_\j\!j`klXk`fej*!giXZk`k`fe\ij!dXp!Zfej`[\i!k_\!]fccfn`e^!jkiXk\^`\j!kf!Xmf`[!
Xe!GL!?@QCLRG?!i\dfmXc!fi[\i!le[\i!6!P,N,>,!y!/007X'Y('3(!n_`c\!Zfek`el`e^!kf!glijl\!
X[d`e`jkiXk`m\!Xe[!]\[\iXc!Zflik!fgk`fej!kf!j\Zli\!k_\!Zc`\eksj!i\klie,!!!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!! !!!!!!!!!!!!!!!!!!!
13
   !!   De!6P?@G!T&!/MJBCP*!516!A,1[!313!'1[!>`i,!0./2(*!k_\!O_`i[!>`iZl`k!^iXek\[!X!g\k`k`fe!]fi!
i\m`\n!Xe[!fi[\i\[!k_\!^fm\ied\ek!kf!i\klie!g\k`k`fe\i,!!O_lj*!6P?@G!gifm`[\j!jfd\!Xlk_fi`kp!]fi!
X!Zfliksj!XY`c`kp!kf!fi[\i!i\klie,!!
14
   !!   9CC*!C,E,*!0MU?!<RGJQ&!)B&!T&!-***!/13!A,1[!313*!32/!'6k_!>`i,!/776(*!T?A?RCB!ML!MRFCP!
EPMSLBQ*!303!P,N,!//11!'/777(9!6QU?JB!T&!4A.?PP*!40.!A,0[!//7.*!//74!'5k_!>`i,!/76.(9!
(KCPGA?L!;PSAIGLE!(QQ#LQ$!0LA&!T&!0LRCPQR?RC!*MKKCPAC!*MKK#L*!447!A,0[!735*!74/!'3k_!>`i,!
/760(9!*GRW!MD!*JCTCJ?LB!T&!-CBCP?J!7MUCP!*MKK#L*!34/!A,0[!122*!124!'?,>,!>`i,!/755(9!QCC!
?JQM!4GESCJ!T&!4A*?PJ*!07/!P,N,!220*!23/+30!'/712(,!


                                                                  /4!
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    (   N\\b!X!Zfek`elXeZ\!f]!k_\!_\Xi`e^!glijlXek!kf!6!>,A,M,!y!/..1,07,!!<e!DE!dljk!Xjj\jj!
        n_\k_\i!X!i\jgfe[\ek![\dfejkiXk\j!t^ff[!ZXlj\u!]fi!i\hl\jk`e^!X!Zfek`elXeZ\,!!R_\i\!
        D>@!_Xj!i\]lj\[!kf!i\klie!k_\!Zc`\ek*!Xi^lXYcp!^ff[!ZXlj\!`j!j_fne,!
        !
    (   <jb!k_\!DE!]fi!X!jlYgf\eX,!!9CC!6!P,N,>,!y!/007X'Y('/(*!6!>,A,M,!y!/..1,13,!!Ddd`^iXk`fe!
        al[^\j!_Xm\!k_\!Xlk_fi`kp!kf!`jjl\!jlYgf\eXj!]fi!k_\!tXkk\e[XeZ\!f]!n`ke\jj\j!Xe[!
        gi\j\ekXk`fe!f]!\m`[\eZ\,u!!6!P,N,>,!y!/007X'Y('/(,!!O_lj*!k_\!DE!dXp!`jjl\!X!jlYgf\eX!]fi!
        ?CN!kf!gif[lZ\!X!i\jgfe[\ek!kf!Y\!X!n`ke\jj!Xe[!kf!gi\j\ek!\m`[\eZ\!Xk!_`j!fi!_\i!
        _\Xi`e^,!!!
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    (   JYkX`e!k_\!Zc`\eksj!Zfej\ek!kf!gifZ\\[!`e!_\i!fi!_`j!XYj\eZ\!glijlXek!kf!6!P,N,>,!y!
        /007X'Y('0('<('```(,!!De!c`d`k\[!j`klXk`fej*!k_\!Zc`\eksj!gi\j\eZ\!dXp!efk!Y\!e\Z\jjXip!]fi!
        X!dXjk\i!ZXc\e[Xi!_\Xi`e^!kf!kXb\!gcXZ\!`]*!]fi!\oXdgc\*!k_\!al[^\!`j!j`dgcp!j\kk`e^!k_\!
        [Xk\!]fi!Xe!Xggc`ZXk`fe!kf!Y\!]`c\[!Xe[-fi!j\kk`e^!X!_\Xi`e^![Xk\,!!!
        !
    (   Hfm\!]fi!X[d`e`jkiXk`m\!Zcfjli\!glijlXek!kf!4?RRCP!MD!(TCRGQW?L*!03!D%I!?\Z,!466!'=D<!
        0./0(,! De!4?RRCP!MD!(TCRGQW?L*!k_\!=D<!_\c[!k_Xk!DEj!dXp!X[d`e`jkiXk`m\cp!Zcfj\!i\dfmXc!
        gifZ\\[`e^j*!\m\e!`]!fe\!f]!k_\!gXik`\j!fYa\Zkj,!!<[d`e`jkiXk`m\!Zcfjli\!dXp!efk!Y\!X!
        jl`kXYc\!fgk`fe!Xj!D>@!dXp!Y\!\m\e!c\jj!`eZc`e\[!kf!i\klie!i\jgfe[\ekj!n_fj\!ZXj\j!_Xm\!
        Y\\e!X[d`e`jkiXk`m\cp!Zcfj\[,!!Hfi\fm\i*!`]!j`dlckXe\fljcp!glijl`e^!]\[\iXc!Zflik!
        c`k`^Xk`fe!kf!Zfdg\c!i\klie*!_Xm`e^!X!]fik_Zfd`e^!_\Xi`e^![Xk\!Yp!n_`Z_!k_\!g\ijfe!dljk!
        i\klie!`j!jkiXk\^`ZXccp!_\cg]lc,!
        !
    (   =l`c[!k_\!i\Zfi["!!D]!k_\!DE!j\\dj!`eZc`e\[!kf!`jjl\!X!ilc`e^!k_Xk!`j!efk!`e!k_\!i\jgfe[\eksj!
        Y\jk!`ek\i\jk!'\,^,*!GL!?@QCLRG?!fi[\i!fi!X[d`e`jkiXk`m\!Zcfjli\(!Y\ZXlj\!D>@!i\]lj\j!kf!
        Yi`e^!k_\!Zc`\ek!YXZb*!`k!`j!`dg\iXk`m\!k_Xk!Zflej\c!fYa\Zk!kf!k_\!DEsj!ilc`e^!kf!gi\j\im\!Xep!
        Xe[!Xcc!Xgg\Xc!`jjl\j!fe!k_\!i\Zfi[,!!<j!efk\[!XYfm\*!D>@sj!i\]ljXc!kf!]XZ`c`kXk\!i\klie!
        Xi^lXYcp!Xcjf!m`fcXk\j!k_\!A`]k_!<d\e[d\eksj!?l\!KifZ\jj!>cXlj\!Xe[!X!g\ijfesj!
        jkXklkfip!i`^_kj!`e!i\dfmXc!gifZ\\[`e^j*!`eZcl[`e^!k_\!i`^_k!kf!Y\!gi\j\ek!Xk!fe\sj!fne!
        i\dfmXc!gifZ\\[`e^!le[\i!6!P,N,>,!y!/007X'Y('0(,!9CC!?JQM!6!P,N,>,!y!/007X'Y('2('=(!
        'tk_\!Xc`\e!j_Xcc!_Xm\!X!i\XjfeXYc\!fggfikle`kp!kf!\oXd`e\!k_\!\m`[\eZ\!X^X`ejk!k_\!Xc`\e*!
        kf!gi\j\ek!\m`[\eZ\!fe!k_\!Xc`\esj!Y\_Xc]*!Xe[!kf!Zifjj+\oXd`e\!n`ke\jj\j!gi\j\ek\[!Yp!k_\!
        Bfm\ied\ek!,!,!,u(,!!<e!`e[`m`[lXc!flkj`[\!f]!k_\!Pe`k\[!NkXk\j!`j!jlYjkXek`Xccp!_`e[\i\[!`e!
        _`j!XY`c`kp!kf!k\jk`]p*!gi\j\ek!n`ke\jj\j!Xe[!\m`[\eZ\*!Zfejlck!n`k_!_`j!Xkkfie\pj*!Xe[!
        Zifjj+\oXd`e\!k_\!^fm\ied\eksj!n`ke\jj\j!Xe[!\oXd`e\!`kj!\m`[\eZ\,!

B77&!   1SRGPYWMSR!
D>@sj!Zlii\ek!i\klie!tgfc`ZpuwX!gif[lZk!f]!k_\!\dYXiiXjj`e^!i\m\cXk`fe!k_Xk*!ZfekiXip!kf!k_\!
JNBsj!i\gi\j\ekXk`fej!kf!k_\!Nlgi\d\!>flik*!k_\!^fm\ied\ek!cXZb\[!X!tgfc`Zp!Xe[!giXZk`Z\u!f]!
gifm`[`e^!t\]]\Zk`m\!i\c`\]u!kf!`e[`m`[lXcj!n_f!gi\mX`c!`e!k_\`i!ZXj\jw]X`cj!fe!j\m\iXc!Zflekj,!!
O_\!i\klie!gfc`Zp!`j!`eZfdgc\k\!Xe[!m\jkj!le]\kk\i\[![`jZi\k`fe!`e!k_\!gXikp!i\jgfej`Yc\!]fi!
i\dfmXc!`e!k_\!]`ijk!gcXZ\,!!O_\![`i\Zk`m\![f\j!efk!Zfm\i!efeZ`k`q\ej!n_f!gi\mX`c!fe!dfk`fej!kf!
i\fg\e!fi!i\Zfej`[\i!Y\]fi\!Xe!DE!fi!k_\!=D<!fi!g\k`k`fe\ij!n_f!Xi\!efe+GKMj!'Xe[!n_fj\!
gi\j\eZ\!D>@![f\j!efk![\\d!e\Z\jjXip(,!!D>@!Xcjf!i\]lj\j!kf!gXp!]fi!k_\!Zfjk!f]!i\klie!]fi!Xep!
g\k`k`fe\i*!\m\e!`e[`^\ek!fe\j,!A`eXccp*!D>@!i\]lj\j!kf!i\klie!efeZ`k`q\ej!n_f!gi\mX`c!fe!KAMj!
n_\e\m\i!`k![\\dj!k_\`i!gi\j\eZ\!lee\Z\jjXip,!!

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<e!`eZi\[`Yc\!cXZb!f]!Zffi[`eXk`fe!n`k_`e!Xe[!Xdfe^!k_\!i\c\mXek!X^\eZ`\j!gcX^l\j!k_\!gifZ\jj,!!
Nfd\!giXZk`k`fe\ij!_Xm\!_X[!kf!]`c\!X!ZfdgcX`ek!`e![`jki`Zk!Zflik!j\\b`e^!kf!Zfdg\c!i\klie,!!!
KiXZk`k`fe\ij!n_fj\!Zc`\ekj!Xi\!Zfej`[\i`e^!j\\b`e^!i\klie!kf!k_\!Pe`k\[!NkXk\j!j_flc[!ZfekXZk!k_\!
D>@!@e]fiZ\d\ek!Xe[!M\dfmXc!J]]`Z\*!kf!j\\!`]!k_\!X^\eZp!n`cc!X^i\\!kf!]XZ`c`kXk\!i\klie!Xe[!kf!
Y\^`e!dXb`e^!XiiXe^\d\ekj,!!D]!k_Xk!gifZ\jj!]X`cj!kf!p`\c[!i\klie*!giXZk`k`fe\ij!j_flc[!Zfej`[\i!
c`k`^Xk`fe!fgk`fej,!

#65;+-;!<9!
=VEGXMXMSRIVW!EVI!GSRWXERXP]!GSRJVSRXMRK!RI[!ERH!GSQTPMGEXIH!SFWXEGPIW!MR!WIIOMRK!XLI!
VIXYVR!SJ!XLIMV!GPMIRXW&!!=PIEWI!GSRXEGX!XLI!;EXMSREP!7QQMKVEXMSR!=VSNIGX!EX!
XVMRE.RMTRPK&SVK!SV!XLI!/QIVMGER!7QQMKVEXMSR!1SYRGMP!EX!GPIEVMRKLSYWI.MQQGSYRGMP&SVK!
MJ!]SY![SYPH!PMOI!LIPT!WXVEXIKM^MRK!EVSYRH!XLIWI!WMXYEXMSRW&!                          !




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                                    ?EQTPI!3QEMP!XS!713!3><!
Of8!@MJ,DIAJ;`Z\,[_j,^fm!
!
Of!R_fd!Dk!HXp!>feZ\ie8!
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Hp!]`id!i\gi\j\ekj!Xe!`e[`m`[lXc!'UI<H@V*!<#WWWWWWWWWW(!n_f!`j!Zlii\ekcp!`e!U>DOT*!
>JPIOMTV,!UD]!Xggc`ZXYc\8!UI<H@V!_Xj!X!_\Xi`e^!Y\]fi\!k_\!UGJ><ODJIV!Ddd`^iXk`fe!>flik!
fe!U?<O@VV,!D!ni`k\!kf!j\\b!pfli!Xjj`jkXeZ\!`e!i\klie`e^!UI<H@V!kf!k_\!Pe`k\[!NkXk\j!U`e!
X[mXeZ\!f]!k_Xk!_\Xi`e^!-!`e!Xe!\og\[`k`flj!dXee\iV,!!
Je!U?<O@V*!UI<H@V!nXj!i\dfm\[!YXj\[!fe!U?@N>MD=@!=<NDN!AJM!JM?@M!JA!
M@HJQ<GV,!NlYj\hl\ekcp*!U?@N>MD=@!I<OPM@!JA!KMJ>@@?DIBN!NDI>@!OC@IV,!Je!
U?<O@V*!U>JPMO-=D<-DEV!^iXek\[!UI<H@Vsj!Udfk`fe!]fi!i\fg\e`e^-i\_\Xi`e^!fi!K\k`k`fe!]fi!
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VICTORY DENIED
After Winning On Appeal, An Inadequate Return Policy
Leaves Immigrants Stranded Abroad

July 2014




                New York University School of Law
                     Immigrant Rights Clinic
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Victory Denied: After Winning On Appeal, An Inadequate Return Policy Leaves
Immigrants Stranded Abroad
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                                                                         i
                                      Executive Summary

       Today, many immigrants who have won their deportation cases on appeal before a circuit

court—a filing called a “petition for review”—are stranded in their countries of origin, with no

way to return to the U.S. This problem is caused by the government’s insistence on deporting

immigrants who have a legal right to remain in the United States before they have a chance to

prove that right in court. Many immigrants try to stop these premature deportations by asking

the courts to issue a stay of removal. The government opposes many of these stays, on the

theory that if the immigrant wins her appeal while she is outside the country, she can then return

to the U.S. As this report demonstrates, this theory is inoperative in practice. Immigrants who

win their cases on appeal while abroad are often effectively denied the benefit of their legal

victory, as they are ineligible to be returned under the government’s existing “return policy,” or

face immense practical obstacles to returning that prevent them from doing so.

       This report illustrates how the government’s inadequate return policy, and its persistent

unwillingness to repair this policy, negatively affects individual immigrants’ cases and the entire

process of judicial review. It also presents newly acquired government documents that show that

the government is well aware of deficiencies in the policy, even as it continues to assure courts

that the return policy make stays of removal unnecessary.         The introduction of the report

provides a brief overview of the issue and explains how the inability to return after winning a

case on appeal is detrimental to immigrants. Part I describes the history of the problem,

stemming from the Supreme Court case Nken v. Holder, 556 U.S. 418, in 2009, through 2014. It

explains how the pattern of obfuscation by Executive Branch agencies, in which entities from the

Office of the Solicitor General to the Office of Immigration Litigation have misrepresented,

dodged, and willfully ignored the scope of the problem, demonstrates how immigrants have

never had a meaningful opportunity to return after winning their case on appeal. Though in Nken,


                                                ii
the Supreme Court based its decision in part on the assumption that deported immigrants can

return to the U.S. after winning their case in court, the report highlights how this assumption was

built on a misrepresentation by the Solicitor General in 2009, and how lower courts, attorneys,

and immigrants continue to rely on the assumption. The report further explores how courts have

never had the opportunity to meaningfully review this policy and this false assumption, as in the

years since Nken, efforts by the government to repair its own error have been perfunctory. It

shows this with evidence from a recent FOIA case against the Department of Justice, which

indicates that as late as 2013, the Department of Justice knew that immigrants were struggling to

return to the U.S. after winning their appeals cases, and that those unable to return may be unable

to continue their cases before an immigration judge, yet still sought to suppress the presentation

of the issue before a circuit court of appeals. Meanwhile, the government continues to assure

circuit courts that its return procedures are sufficient to prevent irreparable harm to those

deported before they win their cases.

       Part II illustrates the continuing inadequacies of the return policy with the stories of

immigrants who have faced enormous obstacles trying to return to the U.S., despite having won

their cases on appeal. It explores how the guiding documents of the return policy – one agency

policy directive and a letter from the Office of the Solicitor General – fail to adequately include

many immigrants who have meritorious claims for staying in the United States, including

asylum-seekers, victims of serious crimes and victims of human trafficking. The report explains

how the policy places these immigrants in a double-bind, as they not only are unable to return to

the United States to press their claims, they are unable to fight their case from abroad because of

jurisdictional problems. The report further highlights how even for those immigrants who are

entitled to return to the United States by the terms of the existing policy, the practical and




                                                iii
bureaucratic obstacles are so enormous that they can effectively foreclose these immigrants from

returning. Indigent immigrants are left out in the cold since they lack the funds to arrange travel

back from the places to which they were deported.

       Part III provides a recommendation to circuit courts. The report asks courts to presume

that removal from the United States before an immigrant’s appeal is complete is an “irreparable

injury” to her case, such that she should be allowed to stay in the U.S. until her case is finished.

The report describes the necessity of this approach for protecting judicial review, given the great

difficulty immigrants face getting the benefit of their victory in court once they have already

been deported.




                                                iv
Introduction

       Today, many immigrants who have won their deportation cases on appeal before a circuit

court—a filing called a “petition for review”—are stranded in their countries of origin, with no

way to return to the U.S. This problem persists despite repeated government assurances that a

consistently effective return policy exists to bring such individuals back to the United States after

they win their petitions for review. These immigrants face a lose-lose situation. The Government

obstructs their return through its inadequate return practices and policy, and courts mistakenly

deny stays of removal based on judicial language that presumes an unobstructed path to return

for those who prevail—language that is on the books solely as a result of the Government’s own

misrepresentations to the Supreme Court in Nken v. Holder.1 This report presents newly obtained

documents from Freedom of Information Act litigation against the Department of Justice2 to

detail the inadequacies of the government’s current return policy. These documents include

evidence that Justice Department lawyers at the highest level are aware of the ongoing problems

with the return policy and the extraordinary difficulty that noncitizens face in pursuing their

claims when they are not returned. In addition, this report details the stories of persons who have

faced extraordinary obstacles in attempting to return to the U.S., despite the lengthy and vigorous

advocacy of their lawyers. The gaps in the return policy demonstrate that in order to ensure

individuals get the full benefit of judicial review, courts must treat removal of a petitioner during

ongoing litigation as presumptively irreparable harm when adjudicating a stay of removal.

       Removal during appeal litigation is an immense harm to immigrants in a number of ways.

When removed, a noncitizen who has been living in the United States for years is forced to leave
1
 556 U.S. 418 (2009).
2
 National Immigration Project of National Lawyers Guild, et al. v. Department of Homeland
Security, et al, 11 Civ. 03235 (S.D.N.Y.) (order dated Feb. 24, 2014) (requiring production of
documents by April 18, 2014).



                                                 1
behind her family, friends, work, and all other ties to this country for the time—often years—that

it takes for a petition for review to be litigated.

        This report focuses on one aspect of the harm that deportees face—the effective

deprivation of the benefits of judicial review when a noncitizen is removed prior to the

adjudication of a petition for review. Many petitioners who win at the circuit court level are

barred from returning to the U.S. by gaps in the return policy or by practical obstacles. First, the

Government refuses to assure the return of the indigent and non-lawful permanent residents, such

that many noncitizens that prevail on their petitions for review may never have the chance to

return at all. Second, for lawful permanent residents (LPRs) the government does not assure

return, and even those who can afford to pay their own way face significant practical obstacles to

return, including inconsistent priorities and policies between government agencies, lack of

information about initiating the return process, and lack of coordination within Immigration and

Customs Enforcement (ICE). Lastly, immigration courts on remand will often refuse to hear

cases for those who are not returned.

        Although government lawyers are fully aware of the obstacles to return, and the

misrepresentations that were at the heart of the Supreme Court’s statements in Nken, they have

persisted in implementing a strategy designed to keep the circuit courts from even considering

the limitations of the return policy and the implications of those limitations for the issuance of

stays of removal. As a result, courts should step in and assure that decisions about stays of

removal are based on the actual harm that noncitizens face if they are removed, by presuming

that removal is an irreparable harm until the Government can assure that all successful

petitioners will be returned.




                                                      2
I. The Nken Misrepresentation, the Government’s 2012 Apology, and the Government’s
Ongoing Efforts to Shield its Actual Policies From Judicial Review

        A. The Nken Misrepresentation

        The courts of appeals play a crucial role in reviewing the legality of removal orders.

Before the Illegal Immigration Reform and Immigrant Responsibility Act (IIRIRA) of 1996, a

noncitizen petitioner automatically received a stay of removal—permission to remain in the U.S.

temporarily—so that she could pursue her right to judicial review.3 IIRIRA, however, eliminated

such automatic stays while at the same time granting courts jurisdiction to hear appeals from

petitioner’s abroad.4 In light of this change, the circuits split over what test to apply in deciding

stays of removal for petitioners pending judicial review.5

        In the 2009 case Nken v. Holder, 556 U.S. 418 (2009), the U.S. Supreme Court sought to

settle this split. In doing so, it established a four-factor test for circuit courts to apply when

deciding whether to grant noncitizen petitioners a stay of removal. The four factors are: (1)

whether the noncitizen petitioner has made a strong showing that he is likely to succeed on the

merits; (2) whether the petitioner will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties; and (4) where the public interest lies.6

        The Supreme Court singled out the first two factors—likelihood of success on the merits

and irreparable harm—as the most critical. 7 The Court further stated that for a petitioner to


3
  See 8 U.S.C. § 1105a(a)(3) (1994 ed.) (“The service of the petition for review . . . shall stay the
deportation of the alien pending determination of the petition by the court, unless the court
otherwise directs.”); see also Nken v. Holder, 556 U.S. 418, 424 (2009) for an extended
discussion and analysis.
4
  See IIRIRA § 306(b), 110 Stat. 3009-612 (repealing § 1105a and lifting the ban on adjudicating
petitions for review once a noncitizen was abroad); 8 U.S.C. § 1252(b)(3)(B) (2006 ed.) (stating
that filing a petition for review no longer automatically stays removal).
5
  Nken v. Holder, 556 U.S. 418, 423 (2009).
6
  Id. at 425-26.
7
  Id. at 434.



                                                   3
establish that she would be irreparably harmed if removed from the U.S., individualized harm

had to be shown. The fact of a person being removed from the U.S., despite all the hardships that

it naturally entails, could not categorically constitute irreparable harm.8 In effect, this meant that

a noncitizen who was likely to win her removal proceedings and ultimately be able to stay in the

U.S., would be deported prematurely and have to spend years fighting her case abroad. In fact, a

recent empirical study of 1,646 petition for review cases found that courts denied stays in about

half of the appeals that were ultimately granted, meaning that many immigrants with meritorious

claims were needlessly removed from the U.S.9

       B. The Government’s Apology and New Agency Directive

       The Supreme Court’s irreparable harm analysis in Nken was based on a false

understanding: that there was an effective and consistent return policy in place for a petitioner

who prevailed on her petition for review while abroad, such that she could return to the U.S. after

winning. It was the promise that a petitioner could come back that made removal not an

irreparable harm in the view of the Court.10 In reaching this conclusion, the Supreme Court relied

on a misrepresentation by the Solicitor General that “[a]liens who are removed may continue to

pursue their petitions for review, and those who prevail can be afforded effective relief by




8
  Id. at 435.
9
  Fatma Marouf, Michael Kagan, Rebecca Gill, Justice On The Fly: The Danger Of Errant
Deportations, 75 OHIO ST. L.J. (forthcoming 2014), available at
http://scholars.law.unlv.edu/cgi/viewcontent.cgi?article=1912&context=facpub.
10
   “The automatic stay prior to IIRIRA reflected a recognition of the irreparable nature of harm
from removal before decision on a petition for review, given that the petition abated upon
removal. Congress's decision in IIRIRA to allow continued prosecution of a petition after
removal eliminated the reason for categorical stays, as reflected in the repeal of the automatic
stay in subsection (b)(3)(B). It is accordingly plain that the burden of removal alone cannot
constitute the requisite irreparable injury.” Id. at 435.



                                                  4
facilitation of their return, along with restoration of the immigration status they had upon

removal.”11

       In fact, there was no consistently effective return policy that adequately assured the

facilitation of all petitioners’ returns after winning their appeal. Advocates knew from experience

that the Solicitor General’s statement could not be true, as there were many stories of clients who

would win their appeals from abroad, yet found themselves stranded in another country with no

recourse to return to the United States. After District Court Judge Jed Rakoff ordered the

Department of Justice to reveal the email communications that underlay the representations made

to the Supreme Court,12 ICE issued “Policy Directive 11061.1: Facilitating the Return to the

United States of Certain Lawfully Removed Aliens.”13 This non-binding internal directive sets

out policy guidelines for one agency—ICE—on when and how to return prevailing petitioners to

the U.S. The directive was followed in April 2012 by a letter from the Solicitor General to the

Supreme Court admitting that there was no effective return policy at the time of Nken, but




11
   Id. at 435, emphasis added (quoting Brief of the Solicitor General at 44). See also Nancy
Morawetz, Convenient Facts: Nken v. Holder, The Solicitor General, And The Presentation Of
Internal Government Facts, 88 N.Y.U. L. Rev. 1600 (2014) (explaining how the Solicitor
General’s Office was aware of significant gaps in the return policy before briefing and argument
in Nken).
12
   Nat’l Immigration Project of the Nat’l Lawyers Guild v. U.S. Dep’t of Homeland Security,
868 F. Supp. 2d 720, 730 (S.D.N.Y. 2012).
13
   Directive 11061.1 is available at
http://www.ice.gov/doclib/foia/dro_policy_memos/11061.1_current_policy_facilitating_return.p
df. The authors of this report—Boston College’s Post-Deportation Human Rights Project, the
National Immigration Project of the National Lawyers’ Guild, and New York University’s
Immigrant Rights Clinic—were involved in the FOIA litigation that ultimately forced the
government’s hand. National Immigration Project of the National Lawyers’ Guild et al. v.
Department of Homeland Security, No. 11 Civ 3235(JSR) (S.D.N.Y.).



                                                5
claiming that the problem was effectively solved by the new ICE directive.14 On its face, this

directive makes the decision whether to return noncitizens who have prevailed in the circuit

courts into a discretionary choice for the agency, offering the greatest discretion in the case of

persons like Nken, who are seeking relief such as asylum and are not lawful permanent residents.

After receiving the Solicitor General’s apology, the Court did not revisit the language of the

opinion, however, perhaps relying on the promise of the Solicitor General that the Department of

Justice’s Office of Immigration Litigation (OIL) would present the ICE Directive to courts for

review whenever it opposed motions for stays of removal.

       C. The Government’s Ongoing Efforts to Shield its Actual Policies from Judicial
          Review

       From the start, the Solicitor General’s suggestion that a misrepresentation could be cured

by the government’s promise to fully inform the circuit courts of its apology and new directive

was a problematic plan for curing the misrepresentation in Nken. Even assuming OIL had

consistently presented the ICE Directive to courts as required by the Solicitor General’s letter,

this would have been an inadequate solution for ensuring that courts, petitioners and advocates

were fully informed about the misrepresentation in Nken and the flaws of the Government’s

return policy. Unlike a court opinion, OIL motions cannot be discovered by petitioners because

immigration cases can only be obtained at the specific court house and are not easily

available.When deciding whether to apply for a stay, petitioners will take the erroneous language

in Nken at face value; there is no indication that this language is wrong through ordinary methods

of legal research. As a result, many petitioners may prematurely give up the fight to obtain a stay



14
  Michael R. Dreeben, Deputy Solicitor General, Letter to William Suter, Clerk at 5 (Apr. 24,
2012) (“The government does not believe that any action by this Court is required.”) (hereinafter
“SG Ltr.”).



                                                6
of removal. This undermines a basic premise of the rule of law, that the language of the law

should be clear enough to provide sufficient notice to individuals who are impacted by it.

       In practice, OIL failed to provide courts the opportunity to review the return policy, by

not consistently informing courts of the SG’s Letter and the ICE Directive or proving courts with

its own knowledge about the Directive’s limitations. This effectively shielded the courts from

reviewing the return policy and rectifying its inadequacies. In oppositions to motions to stay

throughout 2012 and 2013, the government continued to cite the mistaken language in Nken,

leaving under-informed courts and petitioners to operate as if this language was completely

valid. Well into 2013, courts continued to deny motions for stay of removal based on the false

premise of Nken’s irreparable harm language.

       In late 2013, OIL filed supplementary letters in cases in which they had opposed a stay of

removal, explaining that OIL was no longer relying on the erroneous Nken language but rather

relying on the 2012 ICE Directive. However, these letters were often too little, too late—many

were filed after a stay had already been denied based on OIL’s original, erroneous opposition

briefs, and some were filed after noncitizens already had been removed. They also continued to

cite to the Directive as though it would provide an adequate solution for all immigrants who win

their petitions for review, despite their knowledge that the Directive could leave prevailing

immigrants stranded abroad.15




15
   This spate of letters did not indicate an across the board change in OIL briefing policy to
notify courts of the Nken problem and the ICE Directive. In early 2014, the authors surveyed
recent opposition to motions to stay in the Second and Ninth Circuits. This review found that,
rather than rely on the erroneous language in Nken or presenting the ICE Directive and SG Letter,
OIL was frequently skipping the irreparable injury prong of the stay analysis. That is, opposition
to motion to stay briefs frequently avoided analyzing whether an irreparable harm could be
suffered at all, focusing instead on the other factors of the stay test. Rather than solving the



                                                7
       D. New FOIA Documents and the Ongoing Refusal to Disclose to Courts the
          Predicament of Prevailing Petitioners Who Are Not Returned

       In 2014, the same FOIA litigation that led to the 2012 apology letter revealed the

Department of Justice’s clear knowledge at the highest levels of the ongoing difficulties faced by

persons who are deported before they win their cases in the courts of appeals. After losing three

times in proceedings before United States District Judge Jed Rakoff, 16 the government produced

Department of Justice documents post-dating the 2012 apology. These documents included

communications about how to resolve the case of Jo Desire, a lawful permanent resident who

was deported in 2006 and who had been unable to return to the United States under the 2012 ICE

directive. His case showed both the difficulty of return and the impossibility of litigating a case

from abroad.    But rather than recognizing that Jo’s case showed the inadequacy of the

government’s return policy, the Department of Justice chose to simply solve Jo’s individual case

while shielding the courts from the actual problems with the return policy.

       Jo Desire came to the U.S. from Haiti as an LPR in 1967 at age 14, served honorably in

Vietnam and lived in the U.S. without incident for 30 years.17 He received a drug conviction in

1998, was picked up by the Immigration and Naturalization Service in 1999, and ultimately was

removed on the ground that his conviction was an aggravated felony. 18 He was held in



problem, this leads courts to conduct their own analyses—relying on the language in Nken—
without any indication that Nken was based on a misrepresentation.
16
   See Nat’l Immigration Project of the Nat’l Lawyers Guild v. U.S. Dep’t of Homeland Security,
No. 11-CV-3235, 2012 WL 6809301 (S.D.N.Y. 2012)(ordering Department of Justice to search
all OIL emails); Nat’l Immigration Project of the Nat’l Lawyers Guild v. U.S. Dep’t of
Homeland Security, No. 11-CV-3235, (S.D.N.Y. May 5, 2013)(denying government motion for
reconsideration); Nat’l Immigration Project of the Nat’l Lawyers Guild v. U.S. Dep’t of
Homeland Security, No. 11-CV-3235, (Aug. 20, 2013)(oral order)(requiring search of documents
through the date of an adequate search).
17
   App. Opening Br. of Desire v. Holder, No. 11-15199, Dkt. 2, 2 (9th Cir. May 4, 2011).
18
   Id. at 3.



                                                8
immigration detention from 1999 until 2006.19 In 2007, the Ninth Circuit vacated Jo’s removal

order finding that he had not been convicted of an aggravated felony.20 On remand, ICE sought

to add new charges. With the help of a pro bono attorney, Jo argued that the issue of his

removability was res judicata and that he should not have to fight his removal case again.21

       When he first won his petition for review, the government informed Jo that if he returned,

he would have to arrange his flight and pay for it.22 However, Jo lacked the funds to purchase a

plane ticket. As such, Jo was stranded in Haiti from 2007 until 2013. Throughout the litigation,

the government continued to assert that Jo would have to pay for his own return.23 When the

case could not proceed due to Jo’s inability to return, the case was administratively closed.

Meanwhile, Jo’s pro bono lawyers filed a habeas case challenging the new proceedings. When

that case was dismissed they appealed to the Ninth Circuit.     After briefing and oral argument,

the Ninth Circuit ordered the government to file documents showing what was happening in the

immigration court proceeding. The government’s response included an email exchange in which

Jo’s lawyer expressed his client’s plight:

       Your Department’s insistence that my indigent client pay for his own travel to defend
       himself effectively denies him his due process right to appear and defend himself at the
       removal hearing. Your department removed my client to one of the poorest countries on
       the planet. He has no means of supporting himself. He is currently having trouble even
       buying food let alone procuring international travel.24



19
   Interview with Kathleen Kahn, on file with author.
20
   App. Opening Br., supra note 17, at 3-4.
21
   Kahn, supra note 19
22
   Id. Documents related to the Desire case were produced in the NIP v. DHS FOIA case and are
attached to the Declaration of Nancy Morawetz in Support of Petitioner’s Reply and in Further
Support of His Application for a Stay of Removal, dated June 19, 2014, Harbin v. Holder, No.
14-1433 (2d Cir.), avail. at
http://www.nationalimmigrationproject.org/legalresources.htm#nipnlg (“Morawetz Dec.”)
23
   Id.
24
   Morawetz Decl., supra n. 22, Ex. B.



                                                9
ICE continued to insist that Desire would have to pay for his own travel.

        The Ninth Circuit proceeded to issue a second order asking for supplemental briefing on

whether Jo could move the immigration court to lift the administrative closure while he was out

of the country, whether he would need the government’s cooperation, and whether the

immigration judge would have EOIR had jurisdiction to conduct reopened proceedings while an

Jo was outside the U.S.25

       The newly disclosed documents show that OIL did not know the answer to whether Jo

could litigate his case if he could not afford to return. In other words, it did not even know

whether those who fell through the cracks of the return policy had any chance of continuing their

cases on remand to an immigration judge. This in itself is an extraordinary fact given that OIL

routinely assures circuit courts that being deported does not cause irreparable harm. OIL asked

ICE what its position would be on Jo pursuing his case from abroad. The ICE lawyer wrote back

that ICE would reserve its right to contest the immigration court’s jurisdiction.26 OIL asked the

Executive Office of Immigration Review (EOIR) to consult on this issue.27 The emails do not

provide the response from EOIR, but along the way, someone appears to have recognized the

conflict between how EOIR answered this question and the sunny promises being made to the

courts. At that stage, the OIL lawyers brought in the lawyers from the Office of the Solicitor

General with emails titled: “meeting to discuss Desire and Nken.” 28          In particular, OIL




25
   FOIA Documents, DOJ-Civil 2141.
26
   FOIA Documents DOJ-Civil 2659.
27
   FOIA Document DOJ-Civil 2129 (communication between OIL and EOIR about conducting
videoconference proceedings in Haiti).
28
   FOIA Document DOJ-Civil 2081 (asking for a meeting including OIL, the Office of the
Solicitor General and EOIR to “discuss the issues regarding how cases are handled at EOIR in
circumstances – like those presented in the Desire case – where an alien is removed while a



                                               10
understood the conflict between what was happening to Jo and what OIL was telling the courts in

the aftermath of Nken. One email asked EOIR, “[W]e would like to understand how EOIR’s

position works with the ICE directive.”29 The email records end soon thereafter due to the date

restrictions on the FOIA litigation, but the public record shows what happened. Rather than

provide supplemental briefing, the government dropped all charges of removability and agreed to

return Jo to the United States. Jo’s pro bono lawyer then withdrew her appeal before the Ninth

Circuit and the government never had to reveal the limits of EOIR’s policies on allowing

immigrants who have prevailed to continue to pursue their cases after they have been deported.

   After placing the burden of return completely on Jo for 6 years, DHS terminated proceedings

against him and transported him to the U.S., for free, on a JPATS (U.S. Marshal Service) plane

on October 15, 2013. He was detained for one week in Virginia and then transported to Arizona

where he was released with the promise that the government would return him to his previous

status as an LPR. The entire process took just over a week, as compared to the years Jo spent

languishing in Haiti without the funds to return.30

       Jo’s story illustrates the limited effectiveness of the return policy in assuring meaningful

relief through judicial review, even for a person who is a lawful permanent resident and who has

the benefit of extraordinary advocacy by pro bono lawyers. In preparation from this report, the

authors canvassed other lawyers who are sometimes, like Jo’s lawyer, able to obtain relief for

their clients eventually through vigorous advocacy. But each of these stories shows the limits of




petition for review is pending; the alien prevails on the petition for review; and there are further
immigration proceedings on remand?’).
29
   Id.
30
   Kahn, supra note 19.



                                                 11
the return policies and the degree to which it relies on extraordinary legal advocacy resources to

obtain return for those who prevail in the circuit courts.



II. The Government’s 2012 Apology Letter And 2012 ICE Directive Continue Many Of The
Failings Of The Old Policy

           A. The SG Letter and ICE Directive Have Critical Gaps That Restrict The Ability
           Of Noncitizens To Return To The U.S.

           While the Office of the Solicitor General assured the Supreme Court in its 2012 letter that

the government now has return procedures that matched their original assertion in Nken v.

Holder, the ICE Directive does not, by its own terms, provide for consistent and effective return

of immigrants.31 In the key passage of the policy, ICE states:

           Absent extraordinary circumstances, if an alien who prevails before the U.S. Supreme
           Court or a U.S. court of appeals was removed while his or her PFR was pending, ICE will
           facilitate the alien’s return to the United States if either the court’s decision restores the
           alien to lawful permanent resident (LPR) status, or the alien’s presence is necessary for
           continued administrative removal proceedings. ICE will regard the returned alien as
           having reverted to the immigration status he or she held, if any, prior to the entry of the
           removal order and may detain the alien upon his or her return to the United States. If the
           presence of an alien who prevails on his or her PFR is not necessary to resolve the
           administrative proceedings, ICE will not facilitate the alien’s return. However, if,
           following remand by the court to the Executive Office for Immigration Review (EOIR),
           an alien whose PFR was granted and who was not returned to the United States is granted
           relief by EOIR or the Department of Homeland Security (DHS) allowing him or her to
           reside in the United States lawfully, ICE will facilitate the alien’s return to the United
           States.

           On its face, the Government’s current return policy does not assure the return of people

that are not lawful permanent residents (LPRs), including asylum-seekers, victims of human

trafficking and victims of serious crimes, and potential recipients of withholding of removal or

Convention Against Torture (CAT) relief. Further, as the documents around Jo Desire’s case

show, it is difficult—and sometimes impossible—for noncitizens to fight their deportation cases

31
     Id. at 4.



                                                    12
from abroad because immigration courts refuse to hear their cases while the petitioners are in

another country. Because the ICE Directive does not assure that these immigrants can return to

the U.S., their inability to fight their case from abroad leaves them in a legal limbo with no

options.

               1. Asylum-seekers, Victims of Serious Crimes and Victims Of Human
               Trafficking Have Limited Access To The Policy

       The ICE Directive limits the return of non-lawful permanent residents who have

prevailed in court to situations where ICE deems the person’s presence “necessary for continued

administrative proceedings.”32 Under this Directive, asylum-seekers, victims of serious crimes

and human trafficking who could receive humanitarian visas, and potential recipients of

withholding of removal or CAT relief, are not given any assurance that they will be returned to

the U.S. after prevailing before a circuit court. Ironically, Jean Marc Nken, the petitioner whose

case became the font of the Supreme Court’s erroneous language about return procedures, was

an asylum-seeker. As such, even he would not be guaranteed return on prevailing under the

current ICE policy.

       Take Edward’s story as an example of the serious challenges a non-LPR faces.33 Edward

is a young man who was removed following a conviction for joyriding (vehicle taking), which is

not a removable offense.34 He had been living without any status in the U.S. since he was a

young child. As a domestic violence survivor, Edward had been granted derivative U visa status,

along with his sister and mother. Today, his sister and mother are lawful permanent residents.35

When Edward was convicted, in 2009, the immigration judge erroneously entered an order of

32
   Directive 11061.1 ¶ 2.
33
   The petitioner’s name has been changed in order to preserve his privacy.
34
   Interview with Andrew Knapp, on file with author.
35
   Id.



                                               13
removal on the basis that Edward had entered without inspection, though his U visa was granted

prior to the commencement of removal proceedings. Edward appealed his case to the BIA, but

lost and was removed to Mexico.36

       With the help of a pro bono attorney, Edward filed a petition for review at the Ninth

Circuit.37 In 2013, the Ninth Circuit remanded his case to the BIA. Despite having been granted a

new opportunity to fight his case in immigration court, Edward faced difficulty returning to the

U.S., because though a U visa holder is in lawful status, he is not considered a “lawful permanent

resident” and is not assured return under the Directive. The ICE Directive only allows for

someone in Edward’s situation to return if ICE, in its sole unfettered discretion, deems his return

“necessary for continued administrative proceedings.”38 Edward faced considerable resistance

from ICE in his attempt to return. He was eventually allowed to return due to vigorous advocacy

by his attorney. See Part III.B.2, infra.

       Yet, it was vital for certain claims for relief that Edward be present in the U.S. For

example, Edward could not make an application for an extension of U visa status, since it is only

available to “[n]onimmigrants in the United States.”39 This meant that if Edward’s U-visa status

expired while he was in Mexico, he would permanently lose one avenue of relief, despite his

victory at the circuit court. Finally, being stranded in Mexico, a country Edward had not resided

in since he was a child, took an economic and emotional toll on him and his family that could

easily be remedied by allowing Edward to return to the U.S. to finish his removal proceedings.




36
   Id.
37
   Id.
38
   Directive 11061.1 ¶ 2.
39
   See page 1 of the Instructions for Form I-539 at http://www.uscis.gov/files/form/i-539instr.pdf
(emphasis added); 8 U.S.C. § 1184(p)(6).



                                                14
       Edward’s is not the only case in which the Government argued that the petitioner could

not qualify for relief due to his or her absence from the U.S. In one case in the Ninth Circuit, the

Government argued that because the petitioner had already been removed from the U.S., his

withholding of removal relief became moot.40 The Government’s argument would essentially

foreclose relief for those who might prevail on a withholding claim—a form of humanitarian

relief that allows individuals who fear losing their life or freedom to remain in the U.S.

               2. The ICE Directive Closes Off Relief for Some Immigrants Due to the
               Immigration Courts’ Frequent Refusal to Hear Cases Involving Persons
               Who are Abroad

       In theory, an individual who is not assured return under the ICE Directive could litigate

her removal case from abroad. However, in practice this is extraordinarily difficult, because it

depends on EOIR being willing and able to conduct hearings for persons who are out of the

country. Rather than being willing to go forward in these cases, EOIR has often taken the

position that it lacks jurisdiction, or has administratively closed proceedings—an action that

places that case on the inactive calendar. As the emails in Jo Desire’s case show, the Department

of Justice is well aware of the importance of this issue: if people cannot litigate unless they are

returned, and DHS sets up policy and practical obstacles to return, then many people who win

their cases are effectively denied any benefit of judicial review. Nonetheless, the Department of

Justice continues to pretend that the ICE directive is adequate to assure relief for petitioners who

win their cases in court.




40
   Resp. Mot. to Dismiss for Lack of Jurisdiction, Hernandez-Anaya v. Holder, No. 12-73139, at
9 (9th Cir. Aug. 16, 2013) (“Before the Court is only the issue of whether Hernandez’s removal
to Mexico should be deferred [based on withholding of removal]. Yet Hernandez fails to explain
how his removal to Mexico can be deferred, when he has already been removed to Mexico.”).



                                                 15
        Attorneys have reported having their clients’ cases administratively closed after winning

a petition for review, because immigration judges viewed those cases as inactive until the

immigrants returned to the U.S. In one case, Steven was removed to El Salvador while his case

was pending at the Ninth Circuit.41 When he won his case in court, and his case was remanded

to an immigration judge, Steven tried to fight his removal case from abroad.42 However, when

Steven sought to litigate his case from El Salvador, the immigration judge presiding over his case

had it administratively closed because Steven was not in the U.S.43 Frustrated by the judge’s

action, his attorney persuaded the ICE attorney to jointly move to have the case re-calendared.

This is not a procedural action a pro se client would have been able to execute and it depended

on the assent of the ICE attorney. Ultimately, the judge did re-calendar the case, but because

Steven is not physically present in the United State to fight his case, the judge still considers his

case a non-priority.44 This situation leaves Steven in legal limbo—unable to litigate his case

without returning, but facing enormous impediments to return.

       Another example of the administrative closure problem is the case of Gideon Idowu.

Gideon is an asylum-seeker from Nigeria who had worked as a contract linguist for the FBI; he

feared that if he returned to Nigeria, he would be targeted by the organized crime figures he had

helped investigate and prosecute.45 Despite his predicament, ICE removed him to Nigeria, where

he did face threats from organized crime members.46 After fighting for several years to get his




41
   This petitioner’s name has been changed in order to preserve his privacy.
42
   Interview with Holly Cooper, on file with author.
43
   Id.
44
   Id.
45
   Mot. Reopen Removal Proceedings and Rescind In Absentia Removal Order at 1, Matter of
Idowu (EOIR Apr. 5, 2012), on file with authors.
46
   Id. at 4.



                                                 16
case reopened and appealing his case to the circuit court,47 an immigration judge reopened his

case in 2013. Upon reopening the case, though, the judge stated, “[A]s the Court is without

authority to order Respondent returned to the United States, the Court will not set another

hearing as it appears that would be futile. Rather, the Court finds the best course of action is to

administratively close Respondent’s proceedings.”48 Worse, ICE then argued that Gideon’s case

should be terminated, leading the judge to terminate Gideon’s proceedings rather than adjudicate

his asylum claim. 49 This case illustrates the same critical obstacle as Steven’s—when an

immigrant has ongoing removal proceedings before an immigration judge while he is outside the

country, the immigration judge will many times administratively close the case rather than allow

the immigrant to have his day in court. Ultimately, Gideon benefited from a strong pro bono

attorney who helped him to persuade ICE to file a joint motion to reconsider the immigration

judge’s termination. 50 After vigorous advocacy, he was returned to the U.S. to continue his

asylum case.51

       These stories, and news from other practitioners that immigration judges have

administratively closed certain cases when petitioners are abroad, highlight how EOIR often will

not hear cases when noncitizens are outside of the United States.52 Cases like these undermine

the entire notion that noncitizens will not suffer irreparable harm after being removed—

regardless of what the ICE Directive states, if noncitizens are not assured return and cannot even




47
   See Idowu v. Attorney Gen. of the United States, No. 12-12937 (11th Cir.).
48
   Decision And Order Of The Court, Matter of Idowu (EOIR Apr. 1, 2013), on file with authors.
49
   Letter of Jessica Chicco, on file with authors.
50
   Joint Mot. to Remand, Matter of Idowu (EOIR Oct. 3, 2013).
51
   Letter of Jessica Chicco, on file with authors.
52
   Andrew Knapp, supra note 13, also reported concerns that his case would be administratively
closed because his client was abroad.



                                                17
litigate their cases from abroad, they are prevented from gaining the benefit of their victory at the

circuit court.

        From the emails about Jo Desire’s case, it is clear that the Justice Department is aware of

EOIR’s policy on cases in which the person is out of the country. Yet, the government has so far

refused to disclose the sections of these emails that state that policy. In the case of Jo Desire, the

Ninth Circuit ordered the Government to apprise the court about EOIR’s position on whether it

retained jurisdiction in a case where the person had been removed and faced ongoing

proceedings on remand.53 Because the government reversed course, returned Jo and dropped the

new proceedings, OIL avoided revealing to the courts of EOIR’s view on whether it even has the

power to adjudicate a case when ICE refuses to return a noncitizen that prevailed in the courts.

        Although the exact contours of EOIR’s current position remain unknown, the FOIA

documents disclose OIL’s past understanding of the ability of person to litigate from abroad. In

one newly disclosed email from before Nken, the very OIL attorney who was the point person

from the government’s briefs in Nken refers to a case where the case was remanded to the

immigration judge “who has no jurisdiction, because the guy is still in Mexico.”54 If that is in

fact the current position of EOIR, it is clear that every gap in the ICE directive and every

practical hurdle to return leads to an impossible situation in which persons who win their cases

are deprived of relief.

        Besides destroying a valid form of relief for some petitioners, the stance of immigration

courts that will not adjudicate cases of those who have prevailed in the courts directly

contravenes the Supreme Court’s logic in Nken, which underpins the entirety of the current

53
   Order of the Court in Desire v. Holder, No. 11-15199, ECF No. 39 (9th Cir., filed May 16,
2013).
54
  FOIA document DOJ Civil 1697 (Aug. 29, 2007), on file with author).



                                                 18
return and stay policies. In Nken, the Supreme Court presumed that removal is not irreparable

harm because prevailing litigants could be made whole.55 Yet, if noncitizens are removed on the

theory that they can litigate from abroad, then lose their opportunity for relief because they are

abroad, petitioners fall into a legal black hole—there is no way for them to get the benefit of

judicial review of a potentially erroneous decision to remove them.

          B. Even When Petitioners Are Eligible to Return Under the ICE Policy, the
          Obstacles They Face Are Enormous

          Many noncitizen petitioners also face significant practical problems when attempting to

return. Even with proactive and supportive advocates at their side, petitioners have trouble

returning due to inconsistent priorities between agencies, confusion within the ICE bureaucracy,

lack of initiative on the part of the government, and the financial burden imposed on them which

in the case of indigent petitioners, can effectively foreclose them from returning to the United

States.

          Attorneys surveyed for this report who succeeded in returning their clients to the U.S.

note that they had trouble securing the cooperation of ICE, obtaining the right documents for

their clients to re-enter the country, and finding a point person in the relevant agencies to help

them start the return process.56 The situation for unrepresented noncitizens is worse, as they may

have difficulty even learning of the ICE policy. These practical barriers indicate that the

government’s existing procedures do not amount to a consistently effective policy for all

55
   “Before IIRIRA, courts of appeals lacked jurisdiction to review the deportation order of an
alien who had already left the United States. Accordingly, an alien who appealed a decision of
the BIA was typically entitled to remain in the United States for the duration of the judicial
review. This was achieved through a provision providing most aliens with an automatic stay of
their removal order while judicial review was pending.” Nken at 424.
56
   In a survey of immigration attorneys conducted by the authors, the majority of those who
responded stated that 1) obtaining a point of contact to assist with return, 2) securing ICE
cooperation, and 3) lack of coordination between agencies were significant problems.



                                                19
noncitizens, as in many cases aggressive, lengthy advocacy is necessary to ensure petitioners are

returned—a quality of advocacy to which many petitioners do not have access.



                1. Indigent Petitioners Cannot Return Under The ICE Directive

         The ICE Directive requires individuals to pay the cost of their own return, creating an
                                                       57
insurmountable hurdle for indigent petitioners.             These petitioners are likely to be

disproportionately pro se, as they most likely would not be able to afford to pay for counsel.

         Jo Desire’s case illustrates this problem. Although the Ninth Circuit vacated his removal

order, Jo could not return to the U.S. because he could not afford to purchase a plane ticket. Jo

spent years in Haiti, where he was ill-equipped to earn the money needed to buy a plane ticket

back to the United States, It was only when the government faced the possibility of having to

reveal the problem Jo faced in litigating his case that it relented and arranged for Jo to be flown

back on a government plane.

         Jo’s case highlights how the financial burden the return policy imposes on indigent

petitions essentially puts them in the untenable position of winning in court yet losing the

opportunity to live in the United States. The government, which chooses to use its resources to

deport persons with pending appeals, has both the resources and the capability to return such

individuals—but chooses not to do so.

                2. Other Agencies Do Not Follow ICE’s Directive, And Immigrants Bear
                   The Cost Of Inter-Agency Disunity

         The ICE Directive outlining the government’s return policy fails to address the many

other governmental actors who are necessary to return a noncitizen petitioner. Both the



57
     See ICE FAQ at ¶ 18.



                                                20
Department of State and U.S. Customs and Border Protection (CBP) play critical roles in

returning deported noncitizens, and coordination failures or outright refusal to cooperate by

either can effectively defeat the promise of return.

       The Department of State has no formal guidance ensuring its cooperation in returning

noncitizens despite the crucial role that it plays in the return process. To return, a noncitizen must

pick up a temporary transportation letter from an embassy or consulate (though these

transportation letters are issued by DHS). The government’s only action to ensure the

Department of State’s cooperation with ICE’s return policy has been a single cable sent in April

2012 to embassies and consular offices, requesting that officials refer return inquiries to ICE and

await parole notification.58 The Department of State has not codified it in the Foreign Affairs

Manual—the Department’s official operative directives—or incorporated it within any other

permanent policy directive. 59 Because noncitizens are often returning in order to attend

immigration hearings, timing is essential—a delay could seriously harm the case.60 In the case

of Marta, a transportation letter sat in the mailroom of an embassy for days before staff

discovered that the noncitizen was in fact authorized by ICE to return.61 In that case, Marta—

who has since received cancellation of removal under the Violence Against Women Act—was

scheduled to return to the U.S. after winning her case before a circuit court. A local ICE officer

mailed the transportation letter to the embassy eleven days before Marta was scheduled to return.

It was only through the attorney’s follow-up calls and pressure that the embassy attaché found

the letter, on the day that Marta was scheduled to leave. Her hearing in immigration court in the

58
   See Cable from Secretary of State to All Diplomatic and Consular Posts 40718 (Apr. 24, 2012),
SG Ltr., Appx. E.
59
   See Foreign Affairs Manual, available at http://www.state.gov/m/a/dir/regs/fam/.
60
   Letter of Bruce Nestor, on file with author.
61
   Id. The name of this petitioner has been changed in order to preserve her privacy.



                                                 21
U.S. was the next day.62 Had she missed her hearing, she could have faced serious consequences,

including removal in absentia—essentially losing her removal case. Had she been pro se, it is

likely that the letter would never have been discovered, and she would have missed her court

date. Marta’s case is one example of how bureaucratic obstacles at the level of the embassy or

consulate could have not only delayed her return to the United States, but imperiled her removal

case entirely.

       Even if a petitioner obtained all necessary documentation, there is no assurance that CBP

officers would permit the petitioner entry into the United States. The ICE Directive authorizes

parole as the mechanism through which prevailing noncitizens are allowed to enter the U.S.63

This use of parole is problematic in that parolees may be treated as arriving aliens and therefore

subject to grounds of inadmissibility under 8 U.S.C. § 1182(a) and detention without a bond

hearing.64 Moreover, CBP’s parole procedures were never designed for the return policy or for

these kinds of cases, so CBP’s instructions on parole still provide that border officials can

override a prior decision to grant entry into the United States.65

       In addition, CBP and private airlines may not recognize the transportation letter

petitioners use to return to the U.S., thus delaying or perhaps preventing petitioners’ return. In

the case of Vladimir Perez Santana, airline staff in the country of origin did not recognize the

transportation letter as a valid document, and would not let Vladimir on the plane. Vladimir is an




62
   Id.
63
   Directive 11061.1 ¶ 3.1.
64
   See 8 C.F.R. § 1003.19(h)(2)(i)(B).
65
   See CBP Directive No. 3340-043, The Exercise of Discretionary Authority, available at
http://www.nationalimmigrationproject.org/legalresources/NIPNLG_v_DHS/CBP%20Parole%2
0Directive%20(Partially%20Redacted)%20-%20Sept%203%202008.pdf.



                                                 22
LPR who had been living in the United States since he was ten years old.66 He was convicted of

a marijuana offense and removed to the Dominican Republic. During his post-deportation exile,

the Supreme Court decided Moncrieffe v. Holder, 133 S. Ct. 1678 (2013), in which it found that

an analogous marijuana sale offense was not an aggravated felony. With the help of a dedicated

attorney, Vladimir appealed to the First Circuit and, on remand, the Board of Immigration

Appeals reopened his immigration case.67 When he attempted to return five months later—after

assembling the necessary documentation and payment, including a transportation letter from the

State Department—he could not board the plane. Flying out in a timely manner is especially

pressing because transportation letters expire quickly. Vladimir was lucky enough to have

counsel, who could call and advocate for him to board a plane the next day.68 But for pro se

petitioners, a setback like this can pose an enormous bureaucratic obstacle petitioners have no

experience in navigating.

       Another example of how bureaucratic hurdles pose a significant problem for petitioners is

the case of Andrew, a petitioner with LPR status who was removed to Haiti. 69 By chance,

Andrew met a lawyer who specialized in immigration matters when both volunteered for relief

efforts in the aftermath of the earthquake in Haiti in 2010.70 After a review of Andrew’s A-file,

his lawyer filed a motion to reopen on a claim of ineffective assistance of counsel.71 The judge

granted the motion and remanded the case to the BIA. Andrew’s lawyer attempted to coordinate



66
   Santana v. Holder, 731 F.3d 50, 51 (1st Cir. 2013).
67
   Id.
68
   Letter of Kathleen Gillespie, on file with author.
69
   Interview with Holly Cooper, on file with author. The name of this petitioner has been
changed in order to preserve his privacy.
70
   Id.
71
   Although Andrew’s case proceeded on a motion to reopen rather than petition for review, the
same bureaucratic challenges are present.



                                               23
with EOIR and ICE to bring him back due to the type of relief they sought—Andrew’s personal

testimony would be key to getting relief.72 After weeks of communication, the assistant ICE field

director informed Andrew’s lawyer on a Thursday evening that Andrew had an appointment with

the U.S. embassy in Haiti the following Monday morning, and that his flight would depart to the

U.S. that Monday afternoon.73

         Andrew’s lawyer knew that the U.S. embassy in Haiti was chaotic, and that it was

extremely unlikely that Andrew would get his documents in time to make his afternoon flight.74

The travel document would only be valid for a short period of time and Andrew and his lawyer

already had purchased the airline ticket, so they needed to get his travel document Monday

morning. The attorney personally flew down to Port Au Prince in order to go to the embassy with

Andrew. Describing the morning of the consulate appointment, she said, “[I]n Haiti . . . just

driving a mile can take an hour. . . .There were around 300 people in the embassy and I pushed

my way to the front.” 75 Luckily, when she spoke to an officer regarding Andrew’s travel

document, it was produced within 1.5 hours. At the airport in Port Au Prince and in the U.S., the

attorney advocated for Andrew when interacting with border agents to ensure that he got

through.76 Without her insistent and extraordinary efforts, it is entirely possible Andrew would

not have been able to enter at all, imperiling his merits case. If Andrew had not been able to

return, he may have never been able to fully realize the benefit of his win on appeal by having

his case fully heard on remand.




72
   Id.
73
   Id.
74
   Id.
75
   Id.
76
   Id.



                                               24
       Similarly, Edward, the U visa recipient who had been wrongfully removed as a person

without status, faced bureaucratic obstacles even once he was approved to return. After ICE

officers agreed to bring Edward back through advance parole, it was a haphazard process. First,

although Edward had a valid Mexican passport when he was first deported, the passport expired

by the time ICE scheduled his return.77 Although advance parole allows an individual to return to

the US without a passport, CBP told Edward that since his had expired, he would have to obtain

a new one. This forced Edward to travel thousands of miles back to the town of his birth in order

to obtain a new passport.78 Due to corruption in the passport office of his hometown, Edward had

difficulty obtaining a new passport as he could not afford to bribe the passport officers. Unable

to obtain a new passport, he returned to the border only to be told that a passport was not

necessary for his return. 79 CBP’s confusion cost Edward significant time and effort, and is

indicative of the widespread bureaucratic miscommunication that creates barriers to return.

              3. ICE Decentralization Makes Coordinating Action Difficult, And ICE
                 Discretion Makes Return Uncertain For Noncitizens

       Even within ICE, the Directive vests power in local offices and is dependent on a

makeshift organizational structure to coordinate local action. Because the ICE Directive does not

specify a central office to supervise all aspects of a return from the flight to providing the

necessary documents, it is practice for local ICE officers to make these determinations. This

makeshift process effectively hands control over returning a successful petitioner to the same

agency responsible for having removed the individual.80



77
   Knapp, supra note 13.
78
   Id.
79
   Id.
80
   ICE FAQ ¶¶ 9-10 (noting merely that a request submitted to ERO Outreach, the central ICE
community liaison office, to be returned will be routed to the “appropriate ICE offices”).



                                               25
       ICE reserves for itself the right to determine when and under what circumstances to

return non-LPRs due to the unrestricted scope of the language in the ICE Directive. ICE retains

the discretion to determine whether returning non-LPRs is “necessary for continued

administrative proceedings.” Consequently, the same agency that executes a petitioner’s removal

also has the discretionary power to not to return her, which would deny her the ability to testify

in her own defense. This broad language grants ICE, a party to the removal proceeding,

unfettered discretion to refuse to return a successful litigant and gives ICE the power to force a

petitioner to proceed with her case from abroad.81

       Even for LPRs, in ICE’s view, ICE agents have the discretion to override the Directive’s

policy statement on return if they desire. The ICE Directive vests final discretion in ICE officers

due to the open-ended nature of some of its terms. It states that it will return individuals who are

restored to LPR status “absent extraordinary circumstances,” but does not define which

circumstances are extraordinary or who is responsible for making that determination.82 The ICE

FAQ document elaborating on the government’s policy is similarly unhelpful, defining

“extraordinary circumstances” as those that “include, but are not limited to, situations where the

return of the alien presents serious national security considerations or serious adverse foreign

policy considerations.” 83 Both “national security considerations” and “adverse foreign policy

considerations” are broad and undefined concepts. Beyond this, ICE acknowledges that

“extraordinary circumstances” are “not limited to” the already broad universes of national




81
   Accord Marin-Rodriguez v. Holder, 612 F.3d 591, 593 (7th Cir. 2010) (“It is unnatural to
speak of one litigant withdrawing another's motion”).
82
   ICE Directive 11061.1 ¶ 2.
83
   ICE FAQ ¶ 3, http://www.ice.gov/about/offices/enforcement-removal-operations/ero-
outreach/faq.htm (emphasis added).



                                                26
security and foreign policy, leaving the term open-ended.84 The Department of Justice reinforces

this view of agency discretion. In one newly released email from 2013, the “OIL Director” states

that “since the petitioner is a former LPR, ICE may be obliged to facilitate his return to the US if

the case is remanded.” The email continues that this should be noted in the email to ICE.85

Tellingly, OIL did not direct ICE that it would be obliged to facilitate return for the former LPR.

       The lack of coordination and high levels of discretion afforded ICE officers allow

considerable room for ICE agents to contradict their own policy. One example is the case of

Philip, a lawful permanent resident of the U.S. who has resided in the United States since 1966.86

Philip was charged with an aggravated felony and removed to Serbia. With the help of an

attorney, he filed a petition for review, which was granted by the Seventh Circuit.87 His case has

now been remanded to the BIA for further proceedings. Given that Philip’s case has been

remanded, he should be able to return. The ICE Directive specifically states that LPRs will be

returned and their status restored “absent extraordinary circumstances.” 88 However, when

Philip’s lawyer attempted to coordinate his return to the United States with an ICE-ERO

(Enforcement and Removal Operations) officer, she was stonewalled. The officer stated, “After

consultation with the Office of Chief Counsel (OCC), the request to facilitate the respondent’s

return is premature. ERO does not facilitate the return to the United States of an alien whose case

is pending on appeal at the Board.”89 This directly contradicts the ICE Directive, and it forces to

Philip to wait even longer to return, despite waiting abroad during his lengthy appeal process.

84
   Id.
85
   FOIA documents, DOJ-Civil 1200 (May 8, 2013), on file with author.
86
   Letter of Maria Baldini, on file with author. This petitioner’s name has been changed in order
to preserve his privacy.
87
   Id.
88
   ICE Directive 11061.1.
89
   Baldini, supra note 68.



                                                27
Cases like Philip’s demonstrate how even long-time lawful permanent residents can have their

ability to return to the U.S. obstructed by the open-ended language of the ICE Directive.

       The Directive suggests that ICE will coordinate its efforts through the Public Advocate.

But the position of the Public Advocate was defunded by Congress in 2013, and members of

Congress continue to criticize any effort to fund an alternative office to serve even its

coordinating function.90

III. In Light Of The Government’s Ongoing Unwillingness To Provide a Comprehensive
and Workable Return Policy, Courts Must Clarify That Removal Constitutes Irreparable
Harm

       Circuit courts have the ability—and responsibility—to consider the existing inadequacies

of the return policy and evaluate whether those inadequacies are significant enough that courts

should categorically presume that removal is an irreparable harm. In Nken, the Supreme Court

envisioned return practices and procedures that would allow a prevailing petitioner to return to

continue fighting her case in the U.S. Such practices and procedures did not exist then, and do

not exist now. Case law shows that when an erroneous statement is made in a judicial opinion,

that statement need not be considered binding on lower courts.

       Moreover, only courts can act to make clear the correct application of the stay standard in

light of the government’s misrepresentation statement of law in in Nken—not ICE or the Office

of Immigration Litigation (OIL) as ICE’s representative. Though it is now clear that the

irreparable harm language in Nken was based on a misrepresentation—and that even today,

effective return procedures do not exist that would support the erroneous Nken language—

petitioners, attorneys, and even courts are left to rely on Nken’s mistaken language. Without



90
   See H.R. 3732, 113th Cong. § 1 (2013), available at:
https://beta.congress.gov/113/bills/hr3732/BILLS-113hr3732ih.pdf



                                               28
action by courts, no correction to the erroneous language in Nken can be discovered by ordinary

means of legal research.

       It is appropriate for courts to issue opinions clarifying the irreparable harm standard in

light of the Government’s actual return policy. In circumstances where language in a prior case

was on an issue not fully litigated, was mistaken, or was dicta, that language is not binding on

courts. As the Supreme Court long has recognized, stare decisis is not applicable unless the issue

was “squarely addressed” in the prior decision.91 Moreover, as the Ninth Circuit has recognized,

unstated assumptions on non-litigated issues are not precedential holdings that bind future

decisions.92 The Court’s analysis of the irreparable harm prong of the stay standard in Nken and

its statement that removal did not cause irreparable harm because “those who prevail can be

afforded effective relief by facilitation of their return”93 were predicated on a significant mistake

of fact, and therefore have no binding force. Thus, circuit courts have the ability to issue a new

opinion free from the constraints of the erroneous language in Nken.

       In addition, circuit courts have the responsibility to issue such an opinion. Litigants and

courts, especially pro se litigants, look to court opinions to understand legal standards. When the

only available judicial discussion is based on a misstatement, both parties and courts can be



91
   See Brecht v. Abrahamson, 507 U.S. 619, 630-31 (1993). See also Webster v. Fall, 266 U.S.
507, 511 (1925) (“Questions which merely lurk in the record, neither brought to the attention of
the court nor ruled upon, are not to be considered as having been so decided as to constitute
precedents”) (citations omitted); Central Virginia Community College v. Katz, 546 U.S. 356
(2006) (“We are not bound to follow our dicta in a prior case in which the point now at issue was
not fully debated”); Humphrey's Executor v. United States, 295 U.S. 602, 627–628, 55 S.Ct. 869,
79 L.Ed. 1611 (1935) (rejecting dicta, “[W]hich may be followed if sufficiently persuasive but
which are not controlling”).
92
   See Gonzales v. Dep’t of Homeland Sec., 508 F .3d 1227, 1234 (2007); Sakamoto v. Duty Free
Shoppers, Ltd., 764 F.2d 1285, 1288 (9th Cir. 1985); Matter of Baker, 693 F .2d 925, 925-26 (9th
Cir. 1982).
93
   Nken, 556 U.S. at 434.



                                                 29
misled about the risks of removal pending a petition for review.            A published opinion is

necessary in order to ensure that noncitizens are provided with a meaningful opportunity to seek

a stay and thereby a meaningful access to relief following judicial review. Such an opinion must

acknowledge the Nken misrepresentation and establish that removal is presumptively an

irreparable harm so long as the government’s return policy is inadequate. In the high stakes

scenario of stays of removal – where the government seeks to remove a petitioner before the

court has adjudicated the legality of the removal – any limitation on return for a prevailing

petitioner is not merely a setback, but an effective denial of meaningful judicial relief. As this

report shows, the current policy cannot assure the return of all petitioners who prevail. In order to

avoid rendering the judicial review process a nullity, courts must consider the litigant’s actual

effective ability to return when it evaluates the existence of irreparable harm.

          As the Supreme Court emphasized in Nken, the efficacy of judicial review for noncitizen

petitioners hinges on the ability of the petitioner to return.94 In order to protect the efficacy of

judicial review, circuit courts should take affirmative steps to resolve the problem of ineffective

return, rather than waiting for DHS to improve its policy or for OIL to properly brief the issue.

Conclusion

          Given the gross inadequacy of the government’s return policy and the problematic state

of the law since Nken, it is all the more crucial for the circuit courts to reassess their application

of the irreparable harm prong of the stay standard. Unlike the Court’s understanding during

Nken, it is now known that the government does not have effective practices and procedures for

returning noncitizens who win on appeal—even after the 2012 ICE directive. This change

justifies circuit courts in revisiting the irreparable harm analysis, and finding that in order to


94
     Nken v. Holder, 556 U.S. 418, 434 (2009).



                                                 30
protect meaningful access to judicial review unless and until all parts of the government create a

workable return policy that assures that prevailing petitioners can enjoy the benefits of judicial

review, removal should be understood as an irreparable harm.




                                               31
